 

t"#V¢`f>'-:\`-‘.'.`ll`.'»\'.l¢fil€\`»\‘i'.'ill'-‘."\?l.\p]l

Case 1:16-cv-02134-ALC ` Document 86-55 Filed 08/18/17 Page 1 of 52

   

i<ings Coonly Civil Coort
Civil Jurlgment

F-"|eintiff($); index Numl:)er‘ CV-007557-15)'K|
RENA|SSANCE EQUlTY HL.DGS F LLC q -
Jer.|grnenl ieeoecl: F*er Seltlemenl of Pertlee

 

VS` Dn l\.flotlon of'.
Dofendant(e); Gery l\/liol‘leel |'<evulloh

MR ERlK RODRlGUE-fz 131 Weetoi'leeter Ave Ele 5000, Port Clneeter.

NY 10573-6522

Amoum claimed $2,921,94 !ndf-.':rl Nun‘ll;lor Fl;ee 545_(]0 Tr,'_\r\s\;;ript Fee $(`}O[;]
L'EB$ Paymms mdc $D.OD Consumor Credit Fee 3000 oeunly Clerl< Fen EBO.CJO
mg C°“"‘“'°'“i"‘ °""’°‘ $O.UO $va\m F@e 525_00 nmmmmem l=e, 540 ,oo
}mgre$` 12101!2013 at 9% 5525-10 NO"'M`\"'|HW FnH SO.UC| Oll~.er L')lsl_nlreemenl\s SU.OU
Nim"“¥ FEE$ $0.00 Nolioe of Trlal Feo $0.00 Other Ensl$ 30.00
C"“"l 57 Smtme $EO.UO Jury Demend Fee SG_O{)
Tote| Demegee $3.548.04 Totel Coste & Dlet.')ureernente 5130‘00 Joclgment Telel 53.6?8‘04

The following named pertiee, addressed end identified es credllore below'.

F’laintil'f oreditor(s) and address

(‘l) RENAFSSANCE EQU!TY HLDC:`)S F L.LC
1412 BROOKLVN AVENUE, BROOKLYN. N`t' 11210

Sl'tel|| recover of the following parties, addresses end identified as debtors below:

 

Defendant debtor{e) end address

('l) MR ER|K RODRIGUEZ
1210 LORING AVE AF"|' ZB, Broo!<\yr\. N\" 11208-5043

 

Judgment entered el the l<lnge County Civll Coud, 141 Livingeton Street, Brooldyn, NY 11201_ in the STATl“:“ OF NE\N
YORK in the total amount of $3,678.04 on 0411912016 a103:34 FM.

Judgment sequence 2 M w

 

 

LH

dupree 'ELV:':ZRM

mill no t;. .\ ' l .~i“'ll
KINGS CUUNTV

eagle 1 orr

nage1

 

11

` Case 1:16-cv-O213_4-ALC D6"C”ornent 86-55 Filed 08/18/17 Page 2 of 52

COURT t'_)I“d `I‘I'IE Ci`l`\" (`_`.|i"` Nl':i\.’\l H'(`)l?.t`x' INI.')E,\` NO. 755?/l5
C()UN‘[`\" OF KI`NG':§ Fll_,l`rl NO. t‘)l)l-"l
............................................................. x

RENAISSANCE EQUlTY HLDGS Ii` ]_.L('.`, Jf_][`}(.',`rME'N"i`

111-rem 5'1'11>1.11..,A'I`10N
PI,,A lNTl l"`i"`( S)

 

-AGAINST-
§ if
MR_ mmc RooRtourzz, §
ne §
15111=‘131~11')1\11'1'15) §§ m
.. __ ,,W: § “
AMooNT ol.MMlio 1_13331>AYME1-1'1'1:1110N Ar:r:"r; or snow 52,921.94 1111
mrenee‘r rRoM oecemeen 1, 2111:1 §§_..‘i_<u_»_§»_£l -' §
513,:113_113 ,\“,
oosrs eY sTATo'rE salmon M §§
eethce or SUMMoNe AND ooMPL/-\n~l"r 525.111) 1113
F1L1No or summons mo compme 1145,1)0
rnosPEcTI\/E MARSHALL‘:§ mae 541).00
§ Il")(].tlt)_l
'ro‘rnl,: 3311343`63

e'rA'rE or New volu<. cooN'rY or weercl-leeren;
THE UNDERSIGNED. A"["¥.`ORNEY AT ll.;'\\\-' OF ’I`Hl§. S'I`A'I`E OF Nl:`,“' \"URH, {.)`N OF "I`HE
ATTORNEY(S) OF RECDRD FOR ']'I'H‘_`. I’LAINTII"F{S) lN TI'[E ABGVE EN'I"['I`LED AC"I`IUN, ET.-\'I`[':S 'I'HAT 'I'HE
D[SBURSEMENTS ABOVE SP[':CIFIED l'l.r\VE BEEN UR “'ILL NECESSARILY BIC M.~‘\D R INC`URRF.K)
'I`l'IERElN AND A'RF. REASONA BLE lN AMOUNT. 'l`HE CAUSE OF ACTION IN THE`. " l IN MA`I"I`E[{
ACCRUED IN TH[§ S'l`A'I`E DF` NEW YORK “’l'IERE 'I'HE E'I`A'I`UTE (}I"` UMIT¢ TI d "' ¢\ CI()N`[`\{ACT, liPU:\'
“'HIC}‘I THE ACTIDN 15 B!\SED, lS Sl.‘l't (6) YEAR S. 'l`HE S'I`A"I'UTE (]F Lli\‘ ’ ` ` 1-\5 NOT E.\'FUU'H'].
Tl'{AT TI"[E DEFENDANT('S) ANSWERED, CASE \'VAS SETTLED PER S"I`ll’ .$ l)ECE)'l BER '?`, 2015.
THAT DEFENBANT(S) DEFAU[..TED ON $:\lf) S'I`IPULA'I`IUN. 'H‘ll;". UN " __;. . " FIRMS THlS
STATEMENT TD BE TRUE UNDE“ THE PENALT\ES O[" I’ERJURY. l
DATED: wee‘rol-lESTER, NY . l
MARCH r, 2016 -----------------------

 
  
  
   
    

 
 
  

 
    
    
 

KAVUL H &. ASSCJ \IA'I“ES_. P.CI-.
BY: GAR'Y' KAVULlCI-I, ESQ,
JUDGMENT ENTERED ON

SERVICE DF 'I`I“IE SUMMONS ANl') COMPLNN'!` IN TI'U.S ACTION ON `l`l‘li.i. l`)El"`i`l`iNIj)r'\N"l"(S]
HERElN HAVING BISEN CUMPL[£'I`ED. Cr-‘\SE WAS fil."`.'f`“l`LEI) l’llill S`l`ll*ULA`l`[ON ON l)[;'{_il§»\/‘|Bl"?`.ii. 7_ 2f1 l 5. `l`l ll-\'l` 1`\.
DEFULT BY “I'HE DL€FENDAN`I` lN COM|"'LY|NG Wl'I`H SAlD A(',ii"‘\l`£[§i\'il}li\l`l` ."\Nl) Dl`£l"'F.Nl.`):i\N'i"S l".f\ll.,luiRli `l`(} f_."ll.il{l",
'l`f'lAT DEFAUL.T DE`.SPI‘[`E PI..AIN'[`IFF`S NO`I`!(`,`.E`IN r‘\£`§CGRI)ANCl$ Wl'l"l'l 'T`I~l."\'l` S`l`ll"l}l.r\'l`l(l)l\l. lt.il`)(jii\\lfii\l`i` lift
REQUESTED. ANN}$XED l‘ll‘ll{l€'l`f) lS /\ COPY fillT Sr\ID S"l`ll’lJLA'l"I(j)N AN\") ll)[:`.t"J-‘\Ul..`l‘ Nt`}'[`ll'.`..“I-`._

Now oN Mo'rloN or 1<Av1.1L1o1-1 at AeeoorA'rEs, r~.r:.. A'rrotmrmeg ron "1"1-115. 1'>1_,1\11\1'1'11=1=1'_15'1 rr
ls, Amooolzo THAT
AFTER 11 newlqu 11~1 51111:) ST1P1;11,1\'1‘101~1,
RENAISSANCE EQU1TY HLDGS F Lr,o,
RESIDING AT; 1412 e‘Root<I.YN AVENUE, eltooKLYN, NY 112111
neoovr»:n oF: MR. eR.IK noonlooez,
RESIDING A'r; 1210 memo AVENUH, APT. 213, 131101:)1<1#1\1, NY 1 1203-sma
THE sum or-“ 32,921.94 wlTH 11~1TE1113.ST or 5591 .119 MAKING 11 '1'o'rAL or 33,51:1`6:1 'r<izlori'rr-sr;n \\1'1"1‘11
$130.00 oo$'rs mo 131313‘1)113131\/1131~1*1‘3, 1111/10111~11‘11~1<3 111 111;1. 'ro T1--1113 3111/1 or expeo_@:l 111~111‘1‘1--1111:'
PLAIN'rml-‘ r»mvr-_= Exeou'rlor~l Tl-IERel-“oke. 111,1. owen CAUSES or norton 111'113 1--11_~?.111‘1.1111' 1111-oven

 

 

Case 1:16-c_v-O2134-ALC Document 86-55 Filed 08/18/17 Page 3 of 52

m mmmn

E=~.mm.m.e§ hmzomm
§§ snow e,ez dwemmmo boom

o=em whom _emzee.e emewm:oo.wee. §
FEHE.EN moe §zeo§e.

.o.e ,meeewoomme. e moweme§

 

 

m@,mew»mm H_EQ.H
mm.¢mm m HeoEomEAmmD one 339
mm.m~ m,m . HP_EE 515 noEmmHU H==oE¢.
ZGMHMJD&_HM mH.Ee.
PZMEUME
wl

Hmwhz.q.mzmmmm

hNEJEEHEJ._»H MEW §
mem.q@e.

G§FE§L

m:hm me ._OZ KWDE 513 m m@_.m.E FSDUM mwzdmmw¢zm,m
N

mw,vmm m© .M,HZDOU

dwme keme mO `_W.EQ mE m© HMDOU HEU

 

 

 

r"v--+nm¢;-_“;‘-_rv»-‘l… - - "

Wm».-w_._....i..i t

Case 1:16-cv-O2134-AL(_3 Document 86-55l Filed 08/18/17 Pe\_ge 4 of 52

A.E'E`IDAVIT OF‘ BERVI CE.`»

Incteoc iii 75$"1/2€>1.5
c:rvIL coo:e'r orr 'rt-IE o‘.l:'ri': oF blow Yoez< mate F.-Lled: clift/2015
ramos courier m

P.TTORNE¥{S]' . Ki-'LVULICH & ASSGCI.i-'LTEB, FC
.F\DDR,ESS : E`.“L:L€'. NU 190?2

v_r».,

x.__sr.
RENMSEANCE EQU',I.T¥ I-tLDC-}S `E‘ LLC

soi.io:.rrrrs;&/r@¢:rs)
VB. ._»-"
ma sent RoDRIcoEz ,/T#\
Do!em:l'en t (`_:r) fite_rr.a§$mm- o
STRTE OI-" NEW `.{ORH,, COU!QTY OF QUF.§ENS + SS: /";'_
YMWIC:K_JHUGDEDr huihg' fully B'»-torn oeye: i;\eponor~.t: is not e. party heroin is over"‘lE Y€=al'$
of ego end resides :Ln New rock Staoe. on 3!20!2015 se 12: '.ilB Pi-i
at 1310 LC’RING JWENUE¢ AET- 2d1 Becoewc, rr‘r nece. deponent served the within

S'UNMCNE & ENDDRSED COMPLAINT

with index Numbe::: ?5!“:17/2015,. end Dste F:Lle2 2¢13/203.5 endorsed thereon,
on: _3. BRIK RGDP.IGUEE Defenderit: therein moment

iii lNDiVlDU-‘\L E¥ delivering e true copy of each to sold recipient personslty; deponent tile person served to co the person described
ti us cold person therein

#2 GORPO lily doii\'eril‘igr to end leaving with end that deponent know the person co served to he Menegir.p Agent of the
RA'[UJON CDrPDrBUOi'l, end oui.hori.zer.i to accept service on behalf of the corporation

demise Woe mode in foiiow!rrg manner offer your deponent was un o bie, with due diligence go serve tire
#3 SWMBLE H'ime$c/dofondont‘ i'n pomon, end on attempt to ioooie the defendant"s pilr:o of employment

By denveran 11 two copy of each to sl_Qi;tN,,tE_E
AGE PERSON e person of suitable ego end dlocreiion

[K] Eeid premieec is reolpieni.'e f ] actual piece cf business [i't]
dwelling house iuoue.i piece oiobode) within the etete.

ii¢i AFFii»<ii~i-E B)r eithan e true copy of each to the door oi sold premisee, which le rocipieni':: [ 1>< actual piece cfoustness D't.'|
TC\ DDOR dwelling house (usl.lei piece of ebede) within the steie,
ti
iii triAiL bn §_r_'i.'§£g,l;i,;l_§ deponent completed service under the lest two section by depositing e copyl ot the §L¢!MMQ‘\|§ §
GUF'Y . MQMH_LA],NI to the above address in a 'iet Ciese posipeld prcpi.=.r‘iyl addressed envelope marked "
tx]

"F'ersenaiend Gonfidentlui" in en official depository under the exclusive oero end custody oi‘lhe Unlied Staiec Pcsl
Ciiiice In the Etete of hiew' York., Eorti'tlod Meil No. Deponeni was unebie, with due diligence to tied recipient or 3

 

person of suitable ego end diecretton. having colied therth on At on At on At
#? DESCR! A description of the Defondeni. or other person served or spoken to on boheit of the Deiendont is as toliowe:“,'"'-E\
P`|'t€it~i Seic MALE, Golor ot Sii|n: BROWN, C.-'oior cf Heir' BLACK 81 GRAY, Agu: 80 69 i-ieight: 6' 9!6‘8 Weig§i; ‘lo't:QIiiJ
[X] Other Feetur‘es', :¢:
#B Wil'.FEF_B “l'ho authorized witness foo end lior traveling expense were paid (tondored) to recipient. § r"f..'_.
tJ
#9 M!L[FAR‘( Deponont asked person spoken to whether the defendant was presently in military service of the guni?d.':\
SERV|CES Sintoe Government or the St.e‘to of NEW YCJHK and was informed that defendant was net __¢-_.e-
ri -o ri-.€r">
. § §§
" ut .~-»
r_ c"i
owern to m 'i 20 w ®@'/ -:.r' -.'r“-
“‘ tr o Ho<; oeo
8 inc . 5 lri 57 -i 20
THDMAS A. DUNDAS

HDTARY PU‘BLIC, Bto.te of New York
NC).. 011]06016915, Quol.d.f:t.ecl in Ctueens C:eunty

c:enen:i_eeion E:cpiroe llfBO/ZDZLB CH*

PRocE$$ comfort PLUB IHc. LIc\'- 1077004, 95-11 1015'£ AVENUB, ibm E`I», ozone seem H*r nolo

Page 4

 

Y"'" '-»- s . \...

'.

 

 

Case 1:16-`cv-02134-ALC Document86-55 Filed`08/18/17 PageBoi 52

', l

n
l

l l

 

l""

 

- ¢.:.‘

 

 

 

.'CW'.TL COUR"I` QI" m CI'I'Y QF 'NEW YORK
'.`COUN"IT OF. KINGS

 

-»--r-w'.¢m¢-

emmrlorr ca

sommer
carelessness senior hence rl, .;l.rs__.o ` ` '

. - PIsnlio{s) inner Ne. 7557/1-5
1 c
»eg`e.inet- ,
MR-ERKKODRIQUE;,
berlrsdmr(s`)

 

SEW¢B f°r\$_,¢!sa..é_i&__..v;»- pick interest el 0% weicpr on default to he paid to plainlifl` es t"ollowc.

WLLH._M_LAZ_L¢§ :_' .'

 

forces orr swore oec/131-

l % PJ“IDF heiger L[HMW;) hereby vooqr¢d_ end drill ruli'iczir`rls/gerrrr.rkmonrs il]?edforr}isdr}r@

 

WM§WWWMWM

Pllll_nflff mey._piocoo_§l_` ligdio§t lally P`er‘ty` rr`rll§‘ d fm_r{§'r to this .e’tl'puletion.. Shce]d D¢i`ollcisat fall to dmely_ make a
Pr\$’lfclerih plellii.ifi"mey open ton i{l 03 days milton notice to aero entsr¢’soforc¢ judgment for the relief requested
in the seagal-elm iseludmg*asy ebemey_ ives ell'pws'o b'y lsw, internal reese md>dlsbureemore. aiding s'redir re`r
piymbai;_e Ii:rp¢_ilo holglrunr.i'ol* ,.Mtl;.r final paymch ciehrs, lilliioti'ffolmll §cairl te. i;h'o- undersigned H.B. applicable o
e`tipplerisri of’d.l$ooahnu§snoe or eelisfs¢liun off_u.dgmont. 1711¢ \mdsrsigsed Defeodsn{(s) oppose herser waives
service ofth¢ amusepr somp_lehll,_ eclmoededgo' that they are not in dis sdllieiy,' elements re lbo Ceurl.*"s_
jm'isl.iictl oil' villch odd dishootiill.hoe.uiay ebediht‘\_‘llehns wilbprcjpdioo, authorizes pleiritit’f"e colewcl to
communicaw wlii`:- -tl:lem, waives my oee.ec- -ll:. doeiet moon soo waives app earl all defenses end .clei_l'n$
_slor_mr_'rlhg from lth lowel”t_o beto rigde ‘Pleidid_"f di ils`.- lumbad:m,, edeigae, dimeer ellier shareholders
lilorelil;re: maplr'lyl§ee; msuizers, elromeye, agents land independent contractors A'ny emilrcs‘ or _dslny' ad munising
Pla.lul:ifl’errig.hteoe‘l_-D ll_ default abell net bd deemed ll v_rd.i_vcp_ of 'spch- iith ass w' 'eh`y suhaoquexil. event bf§loiilolr
P,B.`Ymo£`\t m ox¢`&ell offle obb‘¢fo jjolmlll'b‘ monile fmj'riiorll Wiil bo: applied to ilio occom:t halrml:o, hut shall oct
relieve Dot`dodehi,~ofthelr ohligsl.iea to pay the next monthly paymcm(e). Ddfeodem small aot_l`__l_’y Plsint_iffeis
regulant Wiib. gm.l:_hi_ll: W.iill.i!} lb'li.iliye life ch'o‘ll£`¢i.*' of hdc_iror`zl.`l W.ilonoiroi~_ $60<3‘-. O.G' or more of a` doht' ns
fdigivol;i.` air_ e.':,r,‘.epli: o£eéttliii'g`l ii"aebi: lbr' I'c:lll that .lho balance owing-g the creditor may he required to regard the
Hment dfi_b£':. f‘d`,tjgl:;_vou clowa lbo internal Rcv_cnuc. S‘orvico on s 1099{`-3 form, 21 copy ofwhi_ch` would be recited
lo you by thorozodito.r. I£§you pro -tm_oort.qin of die legal or nix ooneoqlle_hpblr, ill/o 'l£ri¢llum'go yo_`g to comm_ii‘ your
logr`ll bribe wilson

h Ioplude)flle, #- IPUH on all ,p_eymen¢s.

h Msko oil gomenie to KAVULICH & ASSOCIA-_TES, 1"`. €L‘. ., sle attomo§{s,l$]
' ' ~ - 105 3' (;l`bl -Ne.'!l-lli~.'§§§»l(i”?‘l)

o 30 GRi"lEllleBl

M ;,,s?e$ll¢llw“ l
Bri`rrsls ANA'I'I'eMP‘l 'ro oLLeo'rAeser _ l .

malcolm N.Y Merroems'rlcrl dominion wlLL
.e'll _Ueeo roe mill Pesyoss.

 

 
  

russo neilson-serna

Neti¢€ Pllldfl!.$i~'f

   

 

 

 

 

 

 

ease 1:16-<:\/-02134-Al_‘gm nm -W@QQEMEWYWSMWW """"""

8/18/17 Page 6 of 52
.i»~m~v“~°’“"'°'"”’“”' mm

 

I\’av\.iliol‘i & Asstittiaics, ]’.C»
lBl Westchcster Avc., Sulre EDDC
l*ort Chcst'cr, t'Y 10573
i’honiz: 914-355»2074/1"`:\$ 914»355-2\]73
ltayttligl\@knyiii' lianda‘

February 05, 2016

M.r Erilc Rodrigucz
1210 l..oring Avenue, Apt, 213
amekiyn, NY, 11203-5043

Rc: Defauited Stipuiation

R.ei'iaissaneo Equity illng ii LLC
File No.: 19022

Deat' Mt Etilc Roclriguea,

You are in default of your payment under the stipulation signed by you. Please i)e advised that

if the default is not cured within 10 days of the date of this letter, my client will pursue all remedies
available to it under law.

Kindly forward all remittances to us, payable to the law finn oi` Kavuiieh & As.aoeiates.:, P.C~ at

liil Weatciiester Ave., Suitc 500€ Porl Ciiester NY 10573 with your file number on said payment
'I'hanic you for your attention to this matter.

 

This is an attempt to collect a debt. Any information obtained will be used for that purpose
This communication is from a debt collector.

 

 

CaSe 1:16-0\/- 02_134- ALC Documen_t 86-55

n C'ivii Ci)m'i i)i'iiic C\iy ni"NT:\_v 'YT:?R"""
County of Kiugs

Filed 08/18/17 Page 7 of 52

 

Romiissance Equity iild_i_is ii LLC `
Pl.."\l`N`I`li-'i'~`(':`-;]

-ageinst~

E ' Rodriguez,
1559

DEFENIJAN'I'

X
AEI‘.`UR.AY_L']`_`Q_.E
IMV ‘ELI$,!AJ_(.LH.
index Ntit 7557!'15
[~`ilc No. 1902?.
-)(

 

 

STATE OF NEW YORK ]
)SS.:
COUNTY DF WESTCHESTER)

I am travell 13 years efage, am nci a party to this action and reside in Weslehesicr Connly, Sttitc ochw Y<Jri':.

l have been requested by Kevulich dc Associates, P.C. attorney for the Plttiniifl'. lo make an in\'t:.\ilig:tiinrl to HSCUl'iilili il' lite [)Ciii£lii`i€llil Ml' l'-"-`fik
Rodriguea is at the present time in military service for the purpose of entry oi”judglnent.

On 03)'0'}'/2{)]6, l Denice Mirandi\ contacted the De{`cnse titanpower Daie Centcr concerning thc I)cfcndtmi Mr I..".rik Rotlri§;\t¢:"z military iilt\ille'-.

I inpulted the social security numbcr, as provided by the Def`cndant, into ihc I_`)ei'cnsc Manpowcr Deln Ccrncr.

Under the Def`cndant‘s social security number I received an affidavit from thc Dci'cnsc Mnnpowcr Dato C`cntcr writing th:t\ lite said IJ<.*i`t:ttdi!lii
is not currently in the military service of lite Unitetl Statcs end time Stnte of Ne\v York (Natiuttal Guar<i).
1

@-t//

Denise Mirau<la

    
 

sweet to before

this cay ~ 743 '}°

 

Notary Pubiie

Gary Kavuiieii

Notary Public ~ State of Ncw York
NO. OZKAEZD$GIS

Quitlii'ied in Westchester County
My Commisaion Expires 05)'1 1/20 i'f

 

fin »

Page 7

item

 

*."._"‘.*_"'\:.~m-i¢-r--~---... ........`.

Case 1:16-cv-O2134-ALC Document86-55 Fi|ec_i 08/18/17

““"""”“""'"'UEFHTEFFTETTFOTD`ETE'H'HE“WTHHUUWEFEMW"\';:'e.'rlt't:t" "'

 
 
 

Last Narne: RODR|GUEZ

 

FirSi Nerne: ER|K
iviidd|e Narne:

Siatus Repori
" Pursu.aut to Servieemembets Civil Reiief riot

Aciive Duiy Statue As Df: Met'-O?»QUiE

 

Page 8 of 52

purview _

i*.'ituiin en tri - Mm.<;wt-gi_iu\ci\;ec-\i. mut

5§'.“141\¢1

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

On N:tlvo billy Grl A L"vu Dury Stati.m mile i
Aetivo cury titan Dg_t“g_ itt-tim billy ana opm cream emmett '“ ' i
Ni\ Nn li§__,w NA i
Thir response militate lite lndividitttls' active duty status tmwd en inn At_-,iim outy status crim _MMM_ i
Loil N¢iiv" Dvlt' Wiih=n 351 b tye 01 Aeiivu duty status mm
Ar:\t\re l‘-'iu\v Btrtrt Dain '- N:t.'vn mary ind Dolo Stmu.-. semen swimman i
NA N»'t Ne fm _`;
t_ `l'h\e ggpooso wheels where tim individual lott uettvn duty interruption ssi mm reviewing ten Ar,tlv¢ ouiy stem crim
'__ irm Met'r\i>er er|_i_i._.yHur tim Wms chteq or 13 Fn':r.:ru t:g||.up |¢; racing DMF m noting l;)g'¢_z,._S-.,qtuq mm _H _
Dronr Nourieolion $tnn tJ-\tu Oruur " noonan E_p_prcatn srmt.t, cum r~.- ,
MA NA Ne itA _W

 

 

 

 

Ti\-‘: FMPDMB ru|'|nc!e whether inn ladinde ar hint-mr

 

Upon searching the data banks of the Department of beiensa Mnncower Dats Csnior. based on the information that you provided inc
the ineivtduat on the active duty status date as to ali branches of the uniformed Servless (Army.
C'J~'A'Ei Gu€lrdi- `|‘hls aiaiue |nciudoa information on a Sarvieemnmbor or hisiher unit receiv|np no

\lii|i hhs limiin dolly r\tal\iit:o|.on ne rep.ii'i_LE' active enry

 

rim tactics

Mary M. Snavoiy-Dixon. i,'iiracior

Dopanrnant of baiense ~ Manpower £Jata Csnier

11800 Ma¢k C&niei‘ DrivE, Suiie D4E25
Ariirtgittrt, VA 22350

above is the status of

Navy. Msrine Corps. Air i-'eree. NCDAA, Pubtie He,sttn, end
fiEDE\fiDi'i C>i iu|urE orders to report for Acli\.'e i.`,lnty_

Page B

 

 

Case 1:16-cv-O2134-ALC Documen_t 86-55 Filed 08/18/17 Page 9 of 52

o m - t-
"' ""-" ""-'"N"- --------- \..-......\... `._.-.-tr\t._ , ... .... \.”,_, . w ...

l ...“l=m'ty.'tl'l'rl'r'dl‘it lui Dmfrmcu t'i_'lu|_'i 'll'\irt l < o
Roporzmg Syalom (DEERSJ database which is lho official source ofri l . ma main

_ ll'lll\' Dlelt1i.i'fJ El'\|¢)lllitur\l. mart E\\ lt ll
yale orr eligibility for military madic g d m

al care and other rallplbi'itty systems
Tho DofJ strongly supports the enforcement of the Servicomorrrbors
Soidlars' and $ailors' Clvll Raiiof Act of 19¢0). DMDC h
is currently on active duty" responsesl and has experts
frisnd, or representative asserts in any manner that th
el the BCRA, you are strongly encouraged tc obtain l
htips:iikb.dsfanso.goviF'ubllcCluariasfpublicQuostion
evidence tha person was on active duty for the activ
ECRA may be invoked against your Eaa 50 L.iSC A

n Ciivl| Rulieont (50 USC Appr y 591 or sao. as amended) (SGRA) rlormorly linnan as tim
as issued hundreds of thousands of “dcas not possess any information indicating that ina individual
l'l-cEl'-l only i`-l W‘Gll E"t>r fBiB. lri the avoid the individual refoltlncad cbove. ctr atty family lrtornbor.

s rndivlduo| was on active duty for the active duty status daia, or is olltanrvise entitled to the protections
urthor varii'tcallon of the parson's status by contacting that person's Sarv|co via this uRL:
siFaosAnswars.]sp?Subjoct=Locotlng Ssrvlce Nlambors or Ealtinp a Mailing Addrasss. ifyou have

a duty status dale and you fall to obtain this additional Ssrv|co verificallot‘t. punitive provisions cl ina
pp. y" 521{c)\

“l‘his response reflects the following iniorrnslion: (1) Tha individuals Actlve Dul
Duty status within 367 days procadin

duty on the Acliva Duty Status Dats.

y status on tila Acrs'vs Duty Eislus Date (2} Wholrtor fha individual left Activa

g tha Aoliva Duly Status Dals {3) Whalhor tha individual or hisflier unit received early notification to report for active

ivlore information on "Active Duty Status"

Aclivo duty status as reported in this certificate la dailan in accordance with 10 LiSC § 101(d) (1). Prior lo 2010 only some of the active duty periods loss
man 30 WF'ISB¢Ul"V'i-l <lEll'$ i"l length wore availablel In tha case ofa member oi tha Nottorlal Guard. this includes service under a call to active service
authorized by the Pres|dont or the Sacratary ot Dofonso under 32 USC § 502(¢] for purposes of responding to a national emergency declared by the
Presidarit and supported by l‘-‘arlorai iunda. Ail Activa Guard Rosarve (AGiit} members must us assigned against an authorized mobilization position in the
l-il'lil ll'lay $l-llirport. Thia includes Navy 'i`raining and Adrninistralian ot tha Ftaserves t`l”ARs). iviarine Corps Aclivs Resarve (ARs) and Coast Guarri itesurva

Prograrrt Admlnistralor (RPAs)t Activa [Zluly status also applies lo a l..|niiormed Sarvice member who is an active duly commissioned olllcer of tila Li.S.
Publlc l-laalth Sarvice or the l~lationsl Dcoanlc and Atmospherlc Ar.lminislratlon (NOAA Ccmrrrissioned Corps).

Covarage L.irtcler the BCRA is Broaciar in Some Casas

Covsrags under the SCRA is broader in sOl'rrH trades and lotludus acme categories cl parsons on active duty for purposes or tha sCRA who vruutd nor hs
l'BprlBtl 35 orr Aclivu Elufy undiJi* this certificatel SC-RA protections are for Til|o 10 and Titlo 14 active duty records for all lbo i_iniiormacl Earvices periods
Trila 32 uttde t>l' dori\rv Dulv arc not covered by SCRA. as defined in accordance with 10 usc § rotrdirr ).

MB'»"'¥ lll'i"@$ 'D|'d*-‘ll$ HFG BmBl'\dEd la amend lhtl PBFiOd 01 active duly'. which would extend 312er protections F'ersons seeking to rely on this weesito
GEll'lll'l¢.‘-Elliul'l Bl'l€l|..lld CI'|BCl< 10 make sure this orders on which SCR.A protections arts based lms-o riot harm amended to extend the inclusin drugs el service
Furlhoffnoru. some pruiooliol‘rs of lha SGRA may extend to persons who have received orders to report for active duty or to bo inducted riot type novo nor
acli-lally begun aciqu duly 0|' actually reputle ldf induc'i|ui't. Thd Léisi Dalo on Al:live Duty entry is important because a riurnl'ier cl protections et trip SCRA
extend beyond the last dates elective duly,

Those who could rely on this certificate aro urged la stick qualified legal counsel lo ensure that r\|| rights guaranteed to Sarvlco members under the SCRA
are protected

WARN|NG: Thls comments was provided based on a last nama, SSNrdoto cl birth. and active duly status date provided by the rauuoster. F'roviuinp
erroneous lnlermation will cause an erroneous certificate to be provident

Ctsrtiiictalc |DZ OQF’“FAOFEEZQBDED

P:lgd 9

;F§:;s;ygrci.tflttti.

 

iv`”‘iti§§t%lTfi.t$‘CVO‘ZZI.B’¢'i,C\LCif)C§CuthenlS€BB Filed_ 08/18/17 Page 10 Of 52

il t
l=`. r`
l l
it..i»r.-.t.:.i -;.\ ..r\r-\ir:il

(`_`.iVl`l_. Ct.`)UltT Ol‘-` 'l`lrlll". Cl'l"i” tl)l`-` Ni`£W YORK

C(`)`Ui"l`l"t” Ol`-` Kll"l(i}$ S'[`] I"l,li_.r't']`l(§ll"i Ol"`

--------------------------------------------------------------- - sttr'rrtt¢;rt»ralv'r
RENAlSSANCl:"J EQUlTY l"f`l.DGS F, l.l`_C'“
l’iainliil`(s), index i\io. 755?!15

-rug,alnstm

MR.. lilth RODRIGUEZ,
Dct`ondant(s)

Scttlccl ‘t`or l`;y_;“é. -;E:§Mplu:lu“t:tesi-ul”tli’t:i;-c;ocpt on default to he paid to plaintiff as i`ollows:
iii // g §E§\“"By / ". 7".9-¢7 / qij FM”-?" \- - -‘ ` ‘ __ y .r master rt}.- .l~,,.t _____ nr-'.-~trt»r:.r rnnrult.-,.

‘ . ~ .. _t ` ' j ' . [LW.Y"IAL C)R .S`TR/Kifi` C)UY_`]: _
l r‘t`or‘ Jrrdgrrrani rialéwwmgqllwtr’ hereby secured and rrrt_l) restraintr.t'ift_¢nr'ni.t)’rttruitr.r iifiiru'_for'ifni-'irfr.§
mWW sbarrett ‘. er --“ . ‘ rt ` wt' y t l '

l?iulntii`i"may proceed against any party not a party to this stipulation .‘Shouid l.`it-':l`<.".udarrt iitii tn timely make u
payment, plaintiff may upon ton (t 0) days written notice to cure enter/enforce judgment for the relief requested
in tito complaint including any attorney fees allowed by law, intcr‘cst, costs and disbursements giving credit for
payments made itcrcundcr. At`tcr final payment ciaars, Pisintili`shuii send retire undersigned ss applicable a
stipulation ot` discontinuance or satisfaction o't`judgment, 'i'hc undersigned l)cfcntiant(_s) appears hcrcin, waives
service ofthc summons and complslrtt, acknowledge that they arc not in lite military, consents to the Cnurt`x
jurisdiction, waives and discontinucs any counterclaims with prejudice antiunich plaintitl"s counsel to
communicate with thotrt, waives any cease rita desist request and waives any and ali defenses and claims
stemming from this matter to date against l-’lsintit`i’ & its succcs:=.r;tr's1 assignslT directorsl1 officers shareholders1
mctnbcrs, employees insurors, nttorncys, agents and independent contractors An_v waiver or delay in exercising
Plaintit`i"s rights as to a default shall not bc deemed a waiver of such rights as to any subsequent event oi` tici`uult.
Paymont' in excess of tito above minimum monthly payment will be applied to lite account huiance, but shall not
relieve Dot`crrdant of their obligation to phyllis next monthly paymcut(s). Dctcndant shall notify f’iuintii`l`viu
regular mail with mailing receipt within 10 days ot`rt change of address Wllcnever $6`00.00 or inure ala debt is
't`orgivcn as a result of settling a debt i`or loss that the balance uwlut;_. thc creditor may bc required to report thc
amount oftho forgiven debt to the Intcmal ltovcnue St:rvice on a ill‘)9tl i"`orm, a copy nt` which would irc mailed
to you by thc orcditor, til you are uncertain ot"thc legal or nut cortsct'rucnocs, we encourage you to cr.lnsult your

        

   

legal or tax advisor.
dr Incittdc file # 19022 on all payments
l* Mske all payments to KAVULICH dc ASSOCIATES, l’.(`j., as attorncys,t 811

Wcstchcsier AEt_t_ua, Sttito 500€, Pot*t Cltestct*, NY. 10573, (Tci. No,9.14-355~2074).

Illatcd: [)ccernhcr 7, 2015 39 llRm'-"il’-iiriii

 
 
 
 

 

    

 

l harvester . _ ~ l_ rip-j ~\- 1
X l 1 defend ant ` W,,. %m
rats-reiser

 

. By:
waller nurses film/witt dell ;§_lpm¢q,_‘lk'lg rule rs nn it'r'rrtlur"r 'r‘o c:ortieiu:‘r a ur=.u'r.
nrcuuyn, rt lla_@¢)j_“’ sur initnitiuarlou or;t'ri\lt~luu writerli

Blél t\lSlED l"OR 'l`l'lAT l-"Ult.f’(.`)t§l:`"..

i-`tage 10

 

 

Ca$e 1:16-cv-02134-AL_C Document 86-55_ Filed 08/18/17 Page 11 of 52

C'w`\\ Conrt of the City of Ncw York

 

C.oonty of K`mgs f .. **"
* _ 111ch Numbar CV-Oil?SST-I:$/KT
WMMSANCE sonny amos a LLo ‘ onoan 'ro snow canon
l ' irl-ga 1115 il " 'l`n Vacato a .incign\onl, restore misc 10 lite Cuicncizit‘, and
MR ERIK RODRIGUEZ l . vacate any liens and income executions involvingl this

defendant on this case

§sfi”%,/

UP()N tito annexed affidavit ol`MR IERIK RC)DRIGUI%`.?.'._. sworn to on Novcmher' 201 2015, iir\<l 111-1011 fill i-li‘-PL""g
and proceedings hcrcin:

i_.et the Cizlimant(S)/Plainlil"l"(s) cn‘ Clailmtnt(s)fl:’iaintii"i"(_s) aitorncy(&i) Show cause ah

 

 

c angs Civil §Tot:rf

j 141 livingston Stroot

3 Brnnl~:lyn, Ncw York 11.2{)1

§ Pnl‘t 34C Rc)nln 1101
t

on Dcccmhcr'l, 2015 at 9:30 AM

or as soon thcrcai'lcr as counsel may bc hoard, why an or_dot' should not ho nnnic:
VACA'I`ING thc Judgmont, restoring to thc oaianciar, vacating amr liens and inctnnc executions and/or granting
such other and harthcr relief as may bo jnsi.
PENIHNG t.hc hearing oi’ this f)l'dcr to Show C.aosc and the entry ofan Ordcr thcrcon_, lot ali proceedings on thc
part of thc Ciaimant(s}fPlaintif'i(s), Claimant(s)!Plainti'i"l`(s) attorncy(s) and agcnt(s) and any l\»‘iarshai or Shcriii`ot‘
thc C`.ity of Now Yoric t"cn' the cnt"oroomcnt of said .lttdgmcnt be stayedl
SERVI.CE oii` a copy oii`this Ordor to Sl1ow Cansc, and atmcxccl Ailidavit, upon thc:

 

Claimant(s)/l’iaintift`(s) or namch attorncy(s): Sherii`t`or Marshai:
(.]ucigc to lnitial) (.indge to `lnilinl)
by Porsonai Scrvicc by " 111 l-Iand Dclivet"y" by I”ct'sonnl Scrvico by " in i-land i..`)clivcry"
by Cortiflcd Maii, Rc.tnrn `Reccipt chucsicd w by `.ct'tii"\cd i\/Iaii, Retnrn Rcccipt Rco_ncsteti
g § by First Ciass Mail with official Post ()Fiico by l""it'st Ciass Maii with oilieiai i’ost Oil`tcc
" Cortif'tcatc oi` Maiiing Ccrtit`tcatc oi` i\/iaiiing
on or before _MQALAH.!!§LZLM , shall bc tlccn\cti good and stlilioi.cnt.
I’R()GF OI*` SUCH SICRVICE shall bc i`llcd with thc Clcrk in tito Pat't indicated ahnvc on thc return data ni'this Ordcl' to i-'»how
Causc.
At'torncy(s): Moii to: Shorif'l"/ivi`a.rsin\l:

 

Gaty Michacl Kavuiioh (Connscl i"or Pltf)
i$l Wcst'ohcster Avc Stc SGOC

I’ort Chcsict‘, NY i0573-6522 WDC- “
Novcmhcr 20. 2015

DA't*t£ l~ion. 'l`hcrcsa M. Ciccotto, Civii donn lodge `(l\l\’t;§)

 

 

 

Paga 11 §
t

 

 

CB.S€ lll@-CV-OZ_lSLl--ALC
M'ii"-WWHMM.-¢..u.l.-n

Civti Cotn"t oi*"l“iiti“t";t'ty"ot 1 ___

-againec-
MR ER]ZK RODRIGUEZ

 

asaats“s'hie“eaeeoeeev needs sill title '

Document 86-55 Filed 08/18/17 Page 12 of 52

K~ 1 calennar, ann vacate anyjudglncnt, liens
and income executions involving this defendant
nn this case

 

 

State of New York, County of Kings

MR ERIK RODR[GUEZ,being duly s\vorrl, deposes and says:

(Dcf`cnd \t'sinitiais)
. a fg

\/ g I{: ge to ll di
'_'-“-'“_“‘h) l have not been serv
skip #3, '#4, #5, and go to llo|

a Noticc ol`Dcl`ault Judg,ment mailed to inc

ja ltcstraining `t~iotice on my bank aeconnt.
a cop),l ol"an Incotne Esectttion served on

____,,,_,,_ Otl‘lct“.

 

3. ,m,____ a) l did not appear andianswer in the Cierlt's (JFlice because:tl'~lt)”l`E;

“__ and I received a date i`er triai.

tn?ppa?a aaa answer in ute clerks class

/“

a) lam the Party named as (Del"cndant)(Itespondent) in the above titled aetion.

a) l have been served with a snnunons and complaint in this action. |NOTEJ:

'»# -H-H

HF-

if$mnli Claints strip tij, and

ed, and my lirst' notice nl` legal action was [Nt’)'l`t-Z: tryon complete any of sent

§ /I /tF/ri_“`

m-"~"“~'*"~

if you complete it Ja, skip and go to stif.

f ___ but the answer \\'t\Wte
/' Other: ,_ 5

  
 

5. lvly reasol

 
 
 

m___“_m Otlter:

---------------- anna.--”,¢auuu~~-,u~---»',-¢»““.

(). l allege that l have a good defense because:

rtJ UJQL

4. On the.Date FT':R\I before J`tldge./Arl)itrater
stipulation(a written ngreemcr

ompiying with the stipulation is
following the order et`the Court is m w
appearing in court on the date scheduled for trial is h

 

as made between c|ni¢nant!plaintiti`and defendant_
thc ltittl.

against me by default for my failure to nppean

ajndgmcnt was entered ft
__._..,_ ajudgnrent was ent
Other:

 

 

"""""" ,'P "` , _ l
7. /§§¢f§“a) l have not had a previous Order to Sitovv Cattsc regarding tins index ntunher.

b) l have had a previous

Ordcr to tiltow Canse regarding this index number but l inn making this applicatir.in

 

j because:

S\/E/:;- l request that the Judgmcnt be vacated, that the ease be restored to the c:.ticndar, and permission to serve these

papers in person

 

¢“u-

 

 

 

 

(f":`»ign Namc_`) ' `
MR ER.li{ R()ii)i.iii{`_iiil:ii/,. W""`“'-.i
1210 l..(“)l`{li"~i(fi AV[i Al"i` 213

Bt.'oeklyn, NY` li?.(iii-§U¢ifi

Psga 12

 

Case 1:16-cv-O2134-ALC Document 86-55 Filed 08/18/17 Page 13 of 52

CIVIL COURT OF TI"IE CITY OF NEW YORK

COUNTY OF KINGS: PART 34 ` INDEX NO. 7557/15
------------------------------------------------------------- X FI]`_E NO. `19()22
RENAIS SANCE EQUITY i~I.i.,DGS f", LLC,

Piailtfiff, MR_M_£\_T_LQ_M

- against ~

MR,. ERIK. RODRIGUEZ,

Defendant.
_____________ __ _____ X

 

Gary Kavulieh, E`,sq., an attorney duly admitted to practice law before the Courts
of the State ofNew Yoric hereby affirms the following under the penalty of perjury

1. l am a member of the law firm of Kavulieh & Associates_, P.C._, attorneys for

the Plaintiff, hereinl As sueh, I am fully familiar with the facts and circumstances of the
within proceeding, except as to those matters stated to be based upon information and
belief, and as to those matters I believe them to be true. The basis of my belief is

information furnished to me by my client, information contained within the C`.ourt’s fiie,

and information contained Within the tile as maintained by your aftirmant’s oftice.

2. I make this affirmation in opposition to the Defcndant’s Ordcr to Show Cause

seeking to, inter alia, vacate the judgment and restore this matter to this Court‘s calendar.

Please see Defendant’s instant Order to Show Cause annexed hereto as Exhibit "‘l

3. In order to prevail on his motion, Defendant must prove both an excusable det

`attli
and meritorious defense

§AQKGROUND

4. Tite Defendant lived at 1412 Bt‘ookiyn Avenne, Apt. Si"", Brooltlyn, `NY. Annexed

hereto as Exhihit “2” is Piaintiff"s agent“t: affidavit

stage 1a

n-cn... _`, .

Waesielcraa:';>i\'

Case 1:16-cv-021_34-ALC Document_86-55 Filed 08/18/_17 Page 14 of 52

5. 'l"hat the lease agreement between the parties ended liebruary 285 2014. for the

above-referenced premises at the agreed upon monthly rate of $1,100~00» P 1633€ 569

aforementioned Exhibit “2.”

t'). Defendant ultimately breached that lease agreement by failingr to pay rent and

accumulating substantial arrears. Annexcd hereto as Exh.ibit “3” is a copy of the tenant ledger.

Please see aforementioned Exhibit “2.”

7. Pursuant to that default, Plaintii`f (“Petitioner” there) commenced a housing court

proceeding under landlord/tenant index number 98059/13.

8. The parties appeared in court on November l, 2013, wherein the Defendant agreed

to pay the arrears and current rent.

9. As the Defendant failed to honor that agreement, the l'-'laintiff obtained a warrant of

eviction and caused that to be served upon the .Defendant.

l(). The Defendant thereafter filed an Order to Show Cause which was returnable in

court on flannery 14, 2014.

ll. l-Iowever, on that date, the Defendant failed to appear in support of his motion and

that motion was denied.

12. ri`he Defendant thereafter vacated on or about .lanuary 21, 201»4, At which time he

owed $2,921.94 as all monies due through January 31, 2015. Please see albr¢m¢mimmd
Exhibits “2” and “3.”

13. The Defendant’s security deposit was applied to Fehruary, 2014 rent_

14. Plaintiff commenced this instant action by service of the summong and
complaint. Armexed hereto as Ei-thibit “4" is a copy of the summons and complaint

Annexed hereto as Exhibit “5"’ is a copy of the affidavit of service thereof.

cage 14

 

.. C_a_Se 1:16-cv-O2134-A|_C Document 85-55 Filed 08/18/17 Page 15 of 52

15. lt is respectfully pointed out to the Ccurt that said summons and complaint was

served at the same address from where Det`endant mailed the instant motion Piease see
aforementioned Exhibit “4.“ Annexed hereto as Exhibit “6” is a copy of the envelope in

which Det`endant mailed the instant motion to your affirmant‘s office

16. Thereafter, the Det`endant failed to answer said summons and complaint; as

such, the Plaintiff obtained a default judgment in the amount of $3,601.96 on September

3, 2015. Annexed hereto as Exhibit “7” is a copy of said judgment

17. Plaintiff then continued execution measures pursuant to that judgment and it

was not until recently that it was able to locate an asset of the Defendant when it issued a

wage garnishment to New Yoric City Marshal Biegel to levy on l`)et`endant’s salary.

18. Upon information and belief, it was that garnishment that caused the

Defendant to file the instant motion.

DEFENDANT’S INSTANT M()TION DOES NOT DHMONSTRATE AN
EXCUSABLE DEFAULT AND MERETORIOUS DEFBNSE~ THER.EFORE, TI-IE
MOTION SHOULD BE DENIED

19. ln order to meet the standard required for this Court to vacate Det`endant’s
default, the Defendant is required to demonstrate both a reasonable excuse for the default
and the existence of a potentially meritorious defense to the action. CPLR SOlS(a)(l);
Bonk ofAm v. Farctcco, 39 ADBd 879 [2d Dep’t 201 l]; Commnnity Pr'eser've Ct)rp. it
Bridgewnter Condomirziums, LLC'., 89 AD_”id 784 [Zd Dep’t 201 1].

20. Moreover, should the Defendant demonstrate a reasonable excuse for her

default, the Court must nonetheless uphold the default when the Defendant’s papers

submitted in support thereof are replete with self~serving, yague, unsubstantiated denials

P.'lgm l§

Case 1:16-cv-O2134-ALC Document 86-55 Filed 08/18/17 Page 16 of 52

and l-lHSUPported legal conclusions. Thnpt v. “Lzrrirer'»an Meci. Crr., 89 ADBd 837 [2d Dep't

20111; Gaml Wholewlea, er. a seven stands race 82 Ar)sa 1041 pa nepa 201 l].

21. A process server’s affidavit constitutes prima facie evidence of proper service

pursuant to CPLR 308. Ciry ofNew fork v. Mi!ier', 2010 NY Slip Op 03059 I_`2d Dep’t
2010].

22. 'l`he process server’s affidavit indicates that l)efendant was served in this

matter via conspicuous service at her residence on lv‘larch 20, 2015 at 1210 l_oring

Avenue, Apt. ZB, Brooklyn, NY 11208. Pleasc see aforementioned Exhibit “4."

23. 'l`he process server’s affidavit states that after using due diligence to make

service personally upon the Defendant, the process server served the summons and

complaint on a male “.lohn Doe” at the aforementioned address Please see

aforementioned Exhibit “4."

24. 'fhus, in accord with Scnrano, the Defendant’s assertion is insufficient to rebut

the prima facie proof of proper service pursuant to CPLR 308(4). !d.
25. As referred to above, that address is the sarno address as indicated as the retum
address on the envelope the Defendant mailed the instant motion to your affinnant`s
officer
26. Therefore, the Defendant‘s allegation of incorrect service is without merit.
27. lt is thus respectfully submitted that there is no excusable default in this mattcr.
DEFENDANT HAS NOT PROVEN A MERITORIOUS DHI*`E,NSE TC) 'i`lrriIS ACTION
23. Defendant, in his Affidavit in support of the instant motion, simply states that he
. .d'isputes the arnount”and is thus not a cognizable meritorious defense to this action lilease

see aforementioned E>thibit “1,” PHE@ 2-

tests

Page 113 iii
ar

'~"'\P\'“M- i~r.-.a\.t..-- -.--.-1-\~-» “a.~s._

Case 1:16-_cv-O2134-ALC Doc_ument 86-55 Filed_08/18/17 Page 17 _of 52

29. As the Defendant does owe this debt, and Plaintiff’ s claim is amply supported
by the reasons set forth above, Defcndant`s motion should be denied.

30. lt is respectfully stated that Plaintiff is entitled to the relief sought in this
matter.

WHEREFORE, your Affinnant respectfully requests that this motion be granted in all

respects and for such other and further relief as to this Court may deem just and propert

Dated'. 1r"ort Chester, NY
December 2, 2015

 

Kavulich tY/Associate§,/‘PTC.

By: Gary Kavulich, Esq.

131 Westchester Ave., Suite SO(JC
Port Chester, NY 10573

(914) 355-2074

 
 

stage 11

entertainment

Case 1:16-cv-O2134-ALC Document 86-55 Filed 08/18/17 Page 18 of 52

   

r_t,i-,t> n tar-aa

 

sage 1a

 

._._¢_¢um--¢_MMWMMWYR# `

Case 1:16-cv-O2134-ALC Documen186-55 Filed 08/18/17 Page 19 of 52 `

 
  
   

~ .-a.-_¢a._________

  
 

\1’ '

.4.-...__\_,`___~`_',_: '-?`_

._g;-_r.-_ .m-_~__._~"_,.r_.".“ ,_,___-.

Civil Co'urt of the City of New Yorlt l
County ofKings

 

‘ 1 Index Nuruhcr CV~007557-15!KI
RENAISSMTCE scales sense s ccc _ cuban re snow cause

~againse~

'l`c Vacatc a Judgmcnt. restore case to the t'_‘alendar, and
MR ERIK RDDRIGUEZ

vacate any liens and income exectttifms involving tilit»'
defendant on this case

 

UPON the annexed affidavit of lva Eli.llf RC)DlUGU`EZ, sworn to on i‘~lovembcr 20, 2015, and upon all papers
and proceedings herein:
l_.et the Claimant_CS]/Plain_tiff(s_] or Cllairnant(s)/`Plainti_ff(s) attorney(s) show cause nt: _ 5
_ Kings Civii Court l
141 Livingston Street
» - o Brooldyu, New '§r’orlr 11201.
__ __ __ Par‘t' 34C ' m ` ' Room 1101
‘ ’ 7 ` ' ` on'_" Dccember'?,\-ZUJ_S. at Q:SIIAM ., "_ _
or as Soon thereafter as counsel may be heard, why an order should not be made:
VACATING the .Tudg'n:tent, restoring to the caicndar, vacating any liens and income executions aud/'o.r granting
1;; such other and further relief as may be just.
W_PENDING the hearing ofthis Ordcr to Show Cause and the entry of an Order thereon let all proceedings on the
» part ofthe Ciairnant[s]/Plaintiff(s), Claimant{s)fPlaintifi`(s) attorney(s) and agent(s) and anyr Marshal ot Slteriff of
the City of blew `it"orlc for the enforcement of said ludgment be stayed

SRRVICE cfa copy ofthis Order to Show Cause, and armened Ai`fidavit, upon the:

 

 

 

  
  
  
  
  

Claiment(s)/Plaintid"(s) cr named attorney(s): Sheriff or lvlarshal~l
(.ludge to‘lnltiai) (ludge to ln_itial)
by-Pefsenal.$emee_bylln~l=iand-Beiiyet=y“ by Persona.i Bcrvice by “ in l"lan`d Delivery"
by Cer“tified Mail liter-nm 1? asatp+ Requested by Ccrtitied Mail, _Rcturn Receipt lleqneste.d
by First Class Ma_il Witlt official Post Officc H'»-C by First Class lvlail With oliiciai Pc)st Of.fice
C‘ertii'icarc of lviaillng
___ __.L u_ ¢-\:.-_'rd»--L - » .-»-“_-_T--_"'r " M~..¢»-¢_--_»-'-....d tp_._u_-v-.r;-.--w.\_-cv»\n-:"- ._-- d-....-~--\a____

all he' deemed good and sufficient

  

 

 

 

 

 

anadarko-m _ l_ -- 1 _ _- 1.= .. ecfile_dcnorli__d;,ew;t]l_drlc_rg_tim_]frgt_ipgi}dated abpvei on the ieturu datc__ _of this t_lrder o Show
Catrse. --'"""'“"“' "*'"“'"*_“_“‘~'"
n Attomcy(s): Mail to: Sheriff/lvlarsl'iai:
Gary Michaei l<“_avulich (Counsel for Pltt]
131 Westehcster Ave Ste 5000
Port Chester, NY 10573-6522
"chember 20, 2015 \Hb(_,_.
~_ DATE lion. 'fhercsa M. Cicootto, Civil Cotu't lodge ('NY`C)

Pege 1El

 

 

Case 1:16-cv-O2134-ALC Document 86-55 Filed 08/18/17 Page 20 of 52

 

 

 

 

 

 

 

 

 

 

j ~ 1 ~1-1 _~ -N.___-... __-_,___ _ ._. -_ ...._-_......» . `FL-' . .. _ -1-1, 1---` 1 -1#1“\*::;:|"_~_1¢»-..___. ` 1.
“____ _`_ __'_ 51 "_ -'_ - '~._ .- d
i_:m ' ` _ 1 ‘_,*.-- .s--_.~'.._..|__._.;.'__t__- __ 9___‘__` _ fl /l/"! H-'-r»-»
RENP-ISSANCE laneth nLnss s 1_;.1_¢;1 , 1 Anrdh.er 111 support 111 restore sess 11111¢"’"`"'**.. .. . _,-“
-- “H'JairlEt~ ' h . . _-_1 1 calendar 1111 ':t"_rerr_t nyjud§rnenr liens pp
.._ MR. ERIK RODRIGUEZ 1 1 \i_'_ `""" i and income s~;§¢;jtions_ involving this defendant --1:-
l ' onthis case q
1
: State otNew York, Counry ot K.in§s ' or ~ 1
l ,;- .‘- 'ERIK R_ODR[GUEZ ,he`in§ dui y sworn deposes and ssy_s:l;1 j . ‘.
§_‘\' (D=f¢njlept's 11111:111|3) _ .11-1. .'f.i 1 §
v » _ e_) I_ain the Pai_'t_y nari_ied_ as (t)ofendant)(i{es}iondent in the above titled aetion. _ _ . - . ' -
n ”""'""“““‘“"“'"*‘__""""""""'*j'""‘-'“ ‘{“~‘t‘i“‘""'"""'-“‘;‘“"'""""'T""‘-‘~‘*““‘"”""““"'“"'"""_"““"""j"
a) I have heen served with 11 summons end eornpla_int_' 111 this notion [NO'I`I.'$: if SHHIU Claims skip 11 and ' !l'-:.`

 

/ il jr go‘ to 11 41
§ "_` ~__ w " :'_"‘“___ _ ` "'_"_‘_1.‘.1)_:[ have not b_een s_et_'verl
_ "' ‘ dep 113,` 114`,1`15, tila go ici 61
1 ___________ 11 Notiee otDet`s\nt 1111:1§1,1111111_1 mailed to me
` 11 Restraini,u§ Notiee on my b`v.nlc seeoum,
~~ -.\`- 11 copy of 1111 lneoroe_ Eseeu_rjdn raped on
Other:

.1_-'-'.
._.,;_'.»_- '1- "-L.-...`.-;\. '*-H-‘~r, -- ~n-l-
**` _......-.-..-.-.-...-.-.......--......-s-.-\.-...........-r..._.'“\.-. M"§\._....,...."T'._

   

11*-‘ ' -'_1',"_..~1-._.__ 1_-.__.._._._"-..-_

_'\---1 “.1_._. 1- .
-'"'f*-" ;,.¢_ _.\__._ _..'. ‘-1.;_/

11""`_1'1' ` _.".","'.-"- ,

,.`c

h) l did pier and answer in the C.'lerl-c‘s Othee
_end Ireeeived a date for triel.

minor the answer Wa's;@tlc.~,r;d.lste
Other: / _ _

 

 
   
 

011 the Dat

-' ' " eme
" s judgment was _en'terc 1!£11111 11-11`11.
11 _111d§111e111 was en 1-

'. y " -' g ""t»_her:

1

 

dEy first no|rioe__ otileg_,al defr_io_n_ tys_r_: _[NO§I‘E¢"_ 11‘ you complete 11_11;,1111‘__1'1_2_11,h __§____M_ _`
/_/711 ,f‘l jjde " _ -

3. _ a) ldicl not appe‘s_mn‘d@és:;r m the Ciei'i-:'s Othoe heornise: {NOTET:` iflyeu complete 113!:`1-`5111';1 1_1`1`1"11." §o `1§1 #o'L.-"" " ‘ ` l;.

et/'I?inl before Jud§efArhihA-;tor//-` .` - . l
`11 stipulation(a written s§re 119 as made between eisiiiiarioplaintit't and defendant § . j

against me ny default for my teilure to appeur. ` _ ' 1 l

'!`.`::i

 

 

  

ing with the stipulation is

 

 

 

 

 

 

 

 

 

llow]iyg~t ordene.iltiaesC“s-eurt-izw-~#l»1 1-~ ~-'v“.s "‘~'“~ “"."'”* ______ ._,._, __ _
11' g»$£;RIFIH-I::H en the date scheduled for trial is-‘
err _

` ______ 'l'-'-~__- n `H_ __ 11 u_.u >

 

 

 

 

 

§§ de§`§t§e bee equse

 

_.J-.-..-¢.._.- - ,_ _..._.,.-._.._ § _\` ____
.f; .-»:_,. _/. f ‘ ` ' _......
17' ‘ ‘ '=" 'H‘\=' 1111/engel - t""

 

7.___:__,_/ E/C"u) 1 have not had 11 previous O1der to \S,l\row Cause regalding this index n11111he1'.
Ihave had a previous C>rder to Slrow ause regarding this index number but 1 11111 1111111111§ tins application

_____.b)

 

beeuuse: -

 

     

._-`

   

'__'._ papers 111 person. 1 -' ' '-

1

 

(Sigu Nsme)

.1 - r.. -‘
" / iii Irequest -th'st- the _Tudgment be vaeoreyat the ease be restored to the ealendar, and ponnission reserve 1111-mp ~_‘V‘__

 

i
“: ¢;_;_`.- ._H.a.-q_ --
M“¢:‘ ._

 

 

 

. not sane sonsroose ""-» , 1
S,lg,norure of Co\irt`£'.'lii'['iihyee end 'I`itie » 1210 1510le AW§ A_PT 213
§ _ Brook.lyn, 'N`Y' 11208-5041.1
1
, § . . . .` , .- .._¢ m ... \ f
1§..,1 1 -..,1 -- --` . .111,»-- n `

 

 

Psgs 20

_
is
' _`é\=="§':‘.§??_§ §§~"§F'/T;i?`_`l.`?k`s`€.’-;¢‘_§'»"f§i-;F~i 56 F_-€ 5'3'=; ‘-Z' ' '_ E ' : : 'r ' '._ ; j : 1 , _ - , 1

 

i=
§
s
l-
f

 

 

Case 1:16-cv-02134-ALC Document 86-55 Filed 08/18/17 Page 21 of 52

M£@MWWWMWWW

 

`_ ... ,:"-vr-'-"

 

 

P':lgq 31

 

-- .s_.i`t_ `,,_,...¢t..w-- ....-u_.mw.-v--~-um»_.__._...._\w»._.~.rw.~.w-----

Case 1:16-cv-O2134-ALC Do_Cument 86-55 Filed 08/18/17 Page 22 of 52

CIIVIL COURT Oi“*` TI~IE Cl'I Y OF NEW YDRK-
CUUNTY OF KINGS: PART 34

_____________________________________________________________________ ){
RENAISSANCE EQUITY I'iLlDGS F lilliC,
Plaintil"i`,
~ against ~
MR. ERIK RODRIGUEZ,
Det`endant.
............................. m »~----X

 

STATE OF NEW YOR.K )

) Ss
COUNTY DF KINGS )

i, Jacob Scltwirnmer, being daly sworn deposes and says:

lnciex No. 7557/15
File No. 1902?,

Meliwlii`

i. I am the managing agent for the Plaintiff, RENA]SSANCTE EQU`[TY HLDGS .F

LLC, and as such, l arn il`ullj}r familiar with the facts and circumstances of this proceeding

as l am responsible for, inter alia, leasing of aparttnents, collection of rents and

maintaining legal actions when required.

2. I am tire property manager of the subject premises and was during the time in

issne.

3. Defenclant lived at l4l2 Brooklyn Avenue, Apt. SF, NY pursuant to a lease

agreement executed by the parties tlrat terminated on liebrtlary 28, 2014 at the agreed

upon monthly rent of $l ,100.00.

4. Defendant ultimately breached the lease agreement by failing to remit regular

payments pursuant to the terms of said lease agreement and accumulating substantial

rental arrears.

 

Pag¢ 22

 

 

Ca_Se 1:_16-cv-O2134-A|__C Document 86-55 Filed 08/18/17 Page 23 of 52

5. As such, Plaintifi` (“Petitioner” there) commenced a housing court proceeding

under landlord/tenant index number 98059!l 3.

6- Th¢ Pa!'ti@$ appeared in court on November 1, 2013, wherein Defendant
(“Respondent” there) agreed to pay all rental arrears due and owing and the current rent.

7. The Defendant failed to honor that agreement and, as such, the Plaintii"t`obtained
a Warrant of eviction and caused that to be served upon the Defendairt.

8. Thereaftei', the Dei`endant filed an Order to Sliow Cause which was returnable in

Court on January 14, 2014.

9. However, on that date, the Defendant failed to appear in support ol:` his motion and

that motion was denied

10. Thereafter, the Defendant vacated the subject premises on or about January 21,
2014.

11. On January 21, 2014, the Defendant owed the Plaintift`the sum ol"$fi,€)."»’. l .94
which represents rental arrears for the month of Novemher, 120 13 balance 01“3721.94 and
for the months of December, 2013 through and including January, 2014 at the agreed
monthly rent of $1,100.00 (after application of Defendant’s security deposit to rent for

February, 2014).

12. As such, Plaintiff commenced this instant action by serving the l`_`)et`endant with
the summons and complaint on or about A_pril B, 2015.
13. Said summons and complaint were served on Defendant at 1210 i.oring Avenue,

Apt. 213 l`:lrooldyn, NY 11208-5043 which is the same address from where Det`endant

mailed his instant motion

Paqa 2a

 

Case 1:16-cv-O2134-ALC Document 86-55 Filed 08/18/17 Page 24 of 52
~»~.~» 14- Ti\€f¢&ff¢l', the Det`endant failed to 'i_ile an answer to the summons and complaint
auth as such, on September 3, 2015, Plaintii`f was awarded ajudgrnent against Defendant
in the amount of $3,601.96.
15. To date, Def`endant has not made any payments pursuant to the aforementioned
judgment

16. As such, the judgment against Del'"endant remains outstanding in the amount of

$3,601.96.

WHEREFORE, your deponent prays that the relief sought herein is granted in all
respects and for such other and further relief as this court may deem just and propcr.

 

J ac b §eli'vy_i_n§pter

  

 

 

Notary Public

 

GAFtY KAVUL|GH
Notary Publie, State of New Yerl<
Ne. uaKAEzO$Bt$
unsuited in Wastchcster County
Eemmisslon Explres May 11, 2017

 

 

 

F'ags 24

   
   
  

, . ~ ,pg~es:rnnatit»arww"<""'

.. i. seamen ' Page 25 of 52

 

F'age 25

 

 

Case 1:16-cv-O2_134-ALC Document 86-55 Filed 08/18/17 Page 26 of 52

 

q

le
neunrssaricis sperry nonprncs r_.L - BY: SA .\ pace 1 - cis/tama
Unit: 0521 SF et VACANT ** #1 *VACANT* SS#: XXK-KX*lESE
RoDRIeUEZ sara seas
aaer= 1412 snoottmn~t avenue lime re= anita
Leaae refer __________________________ §§??i_qj¥ljf_l:l¥ ______________________________
Tel [1] [2] Type Codaa;
N° lw] tag s'raart.raen
Leasai 3/01/13 " 2/23/14 “ 12 Monthe Due Gn: 1 Move in Date: 2/11/13
Vacaee peter lflofld
Gr°aa r&nt= 11905.76 Sec a Suhs: 0.00 Sen Cit Sube: U.UO
F“El Adj= oroo ann amoune= o.oo Nee aene: l,lOD-OG
Pref. Rent: 1,100.00 Sep ao'en nanc: 1,905.76
MOnthly Chargea: __________________________________________________________ . _____
Monthly Amt DneDatE Off-Date St Code Amt On~Date Off-Dahe 5a
Security Amt: 1,100.00 Toe Security Rcvd: l,lod.oo ** DISPOSSESS
Intereet Pd: 0.00 Last Dahe Int Paid:
Miec Inf ill i2}
acom counts: Reg: inn Fuel: s.oo
Billing/Remindere: -------------------------------------------------------------
Recurring Speoial States Share Sen Citisen
Monehly Adjuetments See a Tax Credies
Tce Btlled: 12,100.00 271.94 o.oo o.oo
TDt Paid: 9,450.00 0,00 U.OO 0.00
Bal Due: s,sso.no 271.94 o.oo o.no
Laet Billed: 12/19/13 7/21/13
Laae Paid: 12/17/13
Laat tenant paymenc: 550.00 ------------------------------------------------

Laae date rent was due: defer/14 NEXT bill en= os/ol/ta

Laee Nobiee Type Generabed Dn
Leaee Renewal better Generated On 10/22/13 LEASE NOT SIGNED

aeeurity Amt: 1,100.00 Revd: l,loo.oo Balanea; n,bg

Page 26

 

 

 

Case 1:16-cv-O2134-ALC Document 86-55 Filed 08/18/17 Page 27 of 52

P* q
RENAISSANCE EQUITY HoLDINoe LL ~ ny: 5a sane s - oa/.t;t/'.ta
ltUt'-lii:: 052- EF an vACANT ** #1 aVACANTw 55#; XXX~XX-l§§§
Addr: 1412 EROOKL§§D§§§§§§' ERIK BRQQKLYN, NY 11210 SS#: T#: 4020
APE Informati¢n: _______________________________________________________________
seem eeunr.a: aeg= last sues 3.00 sra.'e:tl.raao Se~‘-i ii mm
Applianeee: Type Daee none Type mate C¢SE

--------------------------------------------------

Last Date Painted:

Miee Info:

Hpt Updaee History: ------------------------------- . ------------------------------
npdaeee by= tro en 2/19/14 aeeieri: see sears sill

Updated by: IG on lfzafla notions aec apart Bill

Updabed by: IG on 1/13/14 Action: Va¢ate

Updaeed bye IG on 11/21!13 Accion: See atarc nill

Legal Informatien: _____________________________________________________________
Bt“.ELiT.uE: In C,‘Cmrt Next Cour't'. DE~'.CLE: il./lt':',/la AGENT RE$Q'D
Lockoue Date: j /
Index #z 93059/2013 Warnt Index #:
Toe Diapo nme $3,221.94 for 3 months Serviee: wrieeen
BDay Diepo Warrant
La.tel:. SElE*.CL'-e:d: 9/30/13

Laet Prineed: 10/01/13

cage ar

 

Case 1:16-cv-O2134-ALC Document 86-55 Filed 08/18/17 Page 28 of 52

I{
)*.

"RENAISSANCE EQUITY HOHDINGS LL “ EY: SA
UI'tii;: 052+- EF

shea 3 - 03/11/l4

** VACANT ** #]_ *vAC_ANT-k 55#; XXX-XX“]EBB

RODRIGUEZ rsan ss# :
A ; ` 1
e§§§erhhlz BROOKLYN AVENUE enooaLrN, ar trsao` rat acco
DATE Tssn nxannnnmton noeuMeur n MoNTnLY
__________ PAYMENTS BILLs nunn nassaence cone/scare aunnrnc aaL
1£§;;§; 1,100.00 arLL 2,921.94
_______ earn scan»aztsla
12/17/13 sso.oo PYMT sovaessso 1.a21 se
elrrss MNTH catv
12/05/13 voo.oo PYMT ascsollazs 2,371 se
317711 MNTH eo=v
12/05/13 1,000.00 sane saosollaaa s,ovt.sa
arvvsl nunn coin
12/01/13 1,1oo.oo alan 4,071 94
places nara scan-llslra
11/05/13 voo.oo PYMT 792565sa1 a,s?z 94
517532 warn catv
11/05/13 scc.co sane ssassssaz 3,6?1 sa
nlvssz MnTa ec=v
11/01/13 1,1oo.oo alan 4,271 94
el?asl MNTH scan~loasls
infer/13 1,1oo.oo arLL 3 171_94
planes MNTH scan-osazrs
s/asfls aoo.oo PYMT reassesoo 2,971 9;'
1317299 MN'I'H r_":r_‘;;\,r
ajar/13 1.100.00 area z 471 94
317127 Mnra senn~oacsts
a/ae/lB GUO»UO PYMT assessvso 1,sdi:;;“
nlrtao earn cp=v
a/la/ls soo.oo PYMT 743455425 l 971 94
stress MNTH ¢D=v
a/ol/ls 1,100.00 assn 2 5g1
slssss nara scan”cvzcn ’ 94
7/21/13 271.94 area arn ccnn. '''''' i:j§l'§;"
' steele AnJ
please MNTH scan»oeaals
s/aa/la 1,oco.oo PYMT trocsacas rec.cc
els?s? MNTH coin

 

cage ca

 

 

 

Case 1:15-cv-O2134-ALC Document 86-55 Filed 08/18/17 Page 29 of 52

m'm'ie“\r'm " '

“WAISSANCE lifetime nominee r..r.. » cyr ca race s - °3/11/1“
““i“‘ °53' BF ** vAcAnT *w #1 *vA¢ANT* asst xxx»xx-tssa
mm nonareuez, saint seitz
r= 1412 BRGOKLYN JWENUE nnoot<,r,,m, mr stale 'rit: 4020
» 1 '~‘/°1/13 :t :tac co srr..t. 1 100 00
-‘ t » r ‘
__‘§}§§ZE _____ mem ecan~oszna
5/°2!13 ssa:r':§“…' _______ §§§1§\ """"""""""""""" §§§§§.§ """"" n.uo
ess-121 ma cigaiii
5f°2/13 SBD.nn paper sanasnsss sro.oo
assess MNTH catv -l
5¢'°1/13 1,1eo.oo BILL 1,1co.oo
assess HN'rn scan-ocean
4/01/13 1,1cn.co a:tLr_. __________ o.oa
misses r-nrra senn-canals
3/30/13 sso.oo ''''''' cmr v -issszssssl -1.100.00
516255 MNTH
3!30/':.3 sso.cc c'rn'r assszscasc ~sso.cn
assess iowa
sloan-fss 1.100.00 art.t. o.co
sleeve Mnri-i scan-cza:.:l.a
2/21/13 1.100.00 cri-re area -1,100.00
arson seen cn=v
2121/13 :t,:.co.cc cri-ur sess -1,1oc.cc
emma serra catv

»»»»» 11 archives crm-reaction exiat:, choy follow here:

 

 

cage 29

 

 

-\-'\'._.V...._._._.H-.-"-` r-~- \'-"

 

Case 1:16-cv-O2134-ALC Document 86-55 Filed 08/18/17 Page 30 of 52

nnnnsssnncs EDUITY HoLDINcs LL - By¢ SA page 5 - cafllfta

Ul.'l.i.tct 052- SF ** vAC_ANT ** #l *vACANT* SS#; XXX"'XX'J..$E§

nder 1412 enooxL§§DRIGUEZ' ERIK SS#: T# esso
= AVE.N'UE 10 =

aec ama ....................... aggregating _____ tit ...................

oaee= 1/16/14 Rap: ALsts

-s ns esa oanea MTN pearce as ascr)'r aAILsD To earnest AF'J:ER nutter-t assent
paee= 12/11/13 kept snnnna;rns

-s wARnAnT rssosn

paper 11/01,13.3 aep= st-LARMAINE

~=- ncr L/L axEcuTIoN smon As assoc an tai zia/s sane rails-renner aLLscs:s
-:» Tn.acrne n t-t/o$:.a'reassova-ascm;a Aeenss 11/15/2013

F‘agc 30

 

  

<-Case 1:16-cv-O2134-ALC Document 86-55 Filed 08/18/17 Page 31 of 52

¢,-

 

 

 

F’.'lgl: 31

   

 

Case 1:16-cv-O2134-ALC Document 86-55 Filed 08/18/17 Page 32 of 52

_mmw_"___“\_wl___,____\M_.,.M`M_N,M`_______N\,,,W.m_,,.`.."_w._,_MMl,.h_`,__,m.,lw,,,,V,.,.`_..W..H..,l.j..,.,l..u....,._..._.…....l.._..\.l..s........ l l. l

Civil Court of the City of New 't'orlc
County of Kings

__ x 0'0'7557

Renaissancc E.quity Hldgs F LLC,

index No.
Plaintil"i`, File No. 19022
-against-

S
Mr Erilc Rodrignea, SUMMQN

Plaee ot`Venue is designated
Def`endant(s). as Plaintit`fs` P|ace ofBusiness

l412 Brookly'n Avenue
I~]rooklyn, NY 11210

-----

To the above named Det`endant(s):

 

X

Y'_DU ARE. HEREBY SUMMONED to appear in the Civil Ccurt ol` the City of hch York, County ol`
Klngs at the office of the Clerlc of the said Court at 141 Livingston Strect, Broolclyn, NY `11201 in the
County ot`h'.ings, State ot`New Yorlc, within the time provided by law as noted below and to file an
answer to the below complaint with the elerlc: upon your failure to answer, judgment will be taken against
you for the surn of $3,421.94 with interest thereon from December 1, 2013 together with costs of this

action.
u- .»F'f

career ones/2015 M “/" ""WH h
By: Gary Kavulich, tisq.
Kavuiich & Associates, P.C.
Attcrncy for Plaiatifl'
ltil Westchestcr Ave., Suitc 500C
Porl Chestcr, NY 10573
Phonc: 91¢1»35 ~ ""`
5 2074 1st symptqu

 

Defsndant(s) Address(es)

.n‘"\',*u r. `-l L ch "!"'""“

`L ' " ` :t"`;Et‘.;:rF-E:
Mr fink Redngucz FE 9 1 "*
1210 Larisg Av¢nas, apt 2a _ 3 ElllS
eraaktyn,ttvttzcs*soaa . -' _ z ¢_\; \_._,“

Note: The law provides that: (a) It`the summons is served by its deli\.ieh" ` " `it '\~t irs ssi i.ii"\i`i¢“t'

, ry to o_u ' ‘

Crty ofNew Yorlt, you must appear and answer within TWENTY days after §uehp:;:gil;aI-ly within me
summons is served by any means other than personal delivery m you within the oily of;} or E:FJ] lf` the
must appear and answer within 'I'HIR'I'Y days after proof of service thereof is ew ork- YOH

Com_t filed with the C]¢;rk mullis

cage 32

Case 1:16-cv-O2134-ALC Document 86-55 Filed 08/18/17 Page 33 of 52

ii"i

mn,_l_|r,`,`_,,.,_....,.-~-.-v _" M

P__.. ....,._-...-

ENDDRSED COMPLA.IN'I`

umw mainle 5¢31<3 lo recover damages from the Defendanl($) for breach ot` a IGHSE
agreement m the sum oi' $2,921 .94 for rental arrears for the months of Deeembcr, 2013 balance of
$'!21.94; January, 2014 through and including Fcbruary 2014 at the agreed monthly sum Df$l~mo‘w
for the premises known as 1412 Brooklyu Avenue, Apt. ’SF, Broolclyn, NY l 1210 together with costs and
disbursements of this action and for such other and further relief as the court may deem jusi'

EEMD.AE.IIQU_;, Plaintifl`seeics to recover damages from Det`endanf($) in tim S“m °f$o‘ou

reiltcsenting damages together with costs and disbursements of this action and for such other and t`urdicr
relief as the court may deem just.

m Plaintifl` seeks to recover damages from the Dci`cndant($) in file 5“1“ OF 5500'00

representing reasonable attorneys fees together with costs and disbursements cf this action and t`or such
other and further relief as the court may deemjust.

mREED.RE; Plaintit`i' demands judgment {A) on the l-`irstAction, in the sum ot`$'£,£t?. l .94 plus
interest from Decernher 1, 2013 together with costs and disbursements of this action for such other and
hether relief as the court may deem just, (B) on the Seccnd Aciicn iii the sara of $0.00 plus interest from
Deceinher 1, 2013 together with costs and disbursements ol` this action and for such other and further
reliel`as the Court may deem just, (C`) on the Third Action, in the sum ol' 5500.00 together with costs and
disbursements of' this action and t'or such other and further relief as the Court rna;,f deem just,

___ "`"~.
. __.-""f'_/`i
__“___,_.--""":.-’"-
¢.-""" .¢*,' i"----e"'

By: Gary K.avtilich, Esq.

The FlaintiEi' iri this action is NOT re ired t b l' .
Aft`airs. qu n c manned by me N¢W York City Department of` Consumer

 

m.,a-w--~ '~'

 

 

   

stage :i¢i

Case 1:16-cv-O2134-ALC Document 86-55 Filed 08/18/17 Page 35 of 52

 

' AFF‘IIJAVIT DH' SERV;[QE
Inr;io;t ila M

EIVIL CO'URT Dli" 'I.'HE CITY DF 'HEW YORK

KINGB COUNTY

fmha E'.i.lcid: 2/13£20,'1.5
AITDRNEY(SH KAVULICH & ASS'DCIATES, PC
RDDREBS .

 

 

 

. Fil.c t~lo 19022 .---.
/a'--r'\.
aattarsaanos hour-cit prince a nice §§ U._`\
v aisineir:is) Fg€t'¥jvjwrfsi
31 .
bas. sara aocarcoas \“:;j:‘»`-\,
Dofanci'imt {.1} fho.a,odli?o\l’tt- 3
sears cr uaw roiu<, conner or access \ ssr /’i£-\
…mYANNI.CK__JHU.GDEG¢ being duly sworn cayo: I.“)eponerrt: l.s nor. a percy herein, is eve 'B` liens
cf age and resides i.n blow Yoz'lt St:et'.e. tin 3/20£201.5 at 12:30 l?M
at _1_210 LORING A§§NUE:, AE'T. EB, BRODKL‘IN, lt‘r' 11200, deponent served the within

SUHMONS & ENDORSED COHPLAINT
with index blumbe\r 755‘?/2015, and Dat'.c li‘i.l.o

2{13£2015 endorsed charoon,
cmi MR. §§le RODRIGUEE, Defondant‘. therein named

 

 

#'l lNC|[VlDUAL Bl{ deliveriqu ct l.rl.tB Ctlrpy 01` BEd-l'\ i.€l mild fbdpl$l‘ll petsol"lally; important 'lhe person 543de fn he fha person described
l 1 as cold person therein.
#2 CORPO By delivering to and lcavlng with and that deponent knew the person so served to he Manap|np Apent ct the
PATtDN ccrpotatlon, and authorized to accept service on behalf ct the corporatlcn.
1 l Servicc was made tn followln

o manner alter your deponent was unable with due c'llr'genee, to serve inc

titltnesa.rdofoodarli fn plcr'sonll end an attempt to locals fha dar'andant'si place of employment

#3 SUlTABLE Ety dellvarlnp a true copy ct each to rlt,`t_l;_i_[\,l_|;£.t_§

at.-“rE PERSDN a person ct suitable age and discretion

[Kl 5th premises is recipients [ ] actual place ctbuslness I>t]

dwellan house (t.\t\t.ial place clabotlc) within the aiala.

#4 AFFleNG By afl'cdnp a true copy of each to the door cl sold prarnlaes, which le rcclp|cnt'

TDUGOR

 

sr [ !K actual place ct business le
dwelling house (tisl.tal place of ahcdo) wllhin the elute.
il
as MNL C\n M§gdj_d deponent completed service under the last two section by depositing a copy ct the §QMMQ_DL§_§
GDP'Y EL[Q,,G_B§_E§LQQMELA]};H to the above address in a tai Glase pcslpald properly addressed envelope marked
[x} 'Parsonal and Ccnlldcnllal" ln an ctileial depository under the exclusive caro and custody cline drilled S\atcs Post
t'.'tfllcc in the dicta of New Ycrlt. Oertllied Ma|| No. Deporrentwae unah|o,with due dll|gcnee le find reclp!ont or a
person or suitable apa and d|acrei|on, travan called thereat on Al orr At on At
iii DESCR| A description of the Defendant, cr other person served, or spoch to on hahaltot the Detendarrl ls as follows:’;";`"
PTlCtN Sctt: MALE, Cclcr cf Sl-titt: ERGWN. Colcr el Halr: BL.ACK dr GRAY, Agc: ElC|‘Bil, Hclght: 5'9/6'0, Welq_tjl: ld'b-Zl§lt],
[Kl Olhar Featurca; -¢;_-. "_._:“-,__".
#B WiT.FEEB The authorized witness too and l cr tiavallng expense wch paid tlcndurcd} to recipioni. =.r ,'I-‘lij_
l 1 19 r._.\
its tatuva Diipcricnt asked person spoken to whether thc defendant was presently ln military service ct tli:t.tnl§ ct
SERWEE.S Stntntt Gttitcmmenl: or thc Stata cf NEW YORK and was informed that defendant was not, r~o atf
ll _ ga
0 §§
m a ‘?:-"s at
t t“i m "'
Er-iorri t:o in 7 20 ph .'_ g
' t tx:C}:sucoao
3 a ic.i 1451
THOMAB A. DUNDAS 400
NOTARY PUBLIG, deata of Naw ¥crk

ND. 01006015919, Qualifiod in Quouno County
Commiaaion Expirea 11/30!2018

CE`

PROCE$$ SERVER PLUS INC. LICl 1077004, 5$"

11 13IST AVBNUE, END FL, OZONE PARK, NY lldl$

 

 

PE|]B 35

lelse 1:16-cv-02134-ALC Document 86-55 Filed 08/18/17 Page 36 of 52

   

. .»trl\-`-.‘ NM"H"*"" *’W`-" ' ` m "
v

 

viii
i-"n qu§
et

”t,..

 

 

 

 

-uwdt."£',`__
how

utiliN\'-l*~i‘

cnw.ool .nn_oooo%n_.\&\ .
ne ooc_o._oo eeo owoooo,o_oo_o

naked oo.,\o ooo.woho…ooo

conoco ,on.cne_ z.oo non

F‘:lga 331

 

MW woo.._~..t;..,ooo.. Mwowwm moon ..“._G _w

 

otc'ttet.\ittjt¢;e£;hw,imii.' ` '*,ic.a""l\'.';>it'».

Mlo.ow..w\ §o.o.\w£»o\ ooncvo.w\o_`w_…md\
`@oo oooooo,_o.»eo,.oewooo once onto moon
%oo...o o,ooo_oa€w?o\._..€.\ wooo@.wih..owtmu

55 Filed 08/18/17 Page 37 Of 52

 

Case 1:16-cv-02134-ALC Document 86

 

Document 86-55 Filed 08/18/17 Page 38 of 52 -

_.M-l---'_"

 

_~~‘»+l¢}.,,,._,.,.. . ..

l--»»-Mamu¢q-i,p_~n.,~mrralrr»rw\“»--

 

 

 

 

 

CaS€ lilG-CV-02134-ALC

Document 86-55 Fi|éd 08/18/17 Page 39 of 52

tetc”ao`r’_

t<lngc C:ounty Civll Court

Pialnl.iti'[e): . .
RENA\BSANCE Etil.il`i'l“ HLDGS F LLC

Givl| oll.ldgmeni

index l\inmber: CV-DD?B§T~l§/Kl
olucigrnent ieeoed: Dn Defeult
Cln ivlotion of.'

 

VS.
Defendani.(e): Gery Miohaei i<evulich
MR ER|K RGDR!GUE?_ gail Tltéfg;;ch§;izor Ave Ste SOGC, Pon` C'nesler,
“E
howe deleted $3,421.94 non number nn olano moore ne $O-Ol"i
L°S&' Pavme“ts '_“ada $U.Cl[] Concnrner Gret:lit Faa $D.OU County Cieri-: Fee $U~UD
i.eee C.ot.tntardain't Oifael $D_QQ gamma F¢¢ 525,00 Entorc.arnont Fee $SO.CJO
i"*“'”$l 121011'2013 919'5"= $540.02 Non~lvil'liiery Faa $O.DD Other chburacmante $0.0D
M°""FY FEE"‘S ($500.{]0) Nolioo of 'l'dol Fco $D.DD - Dthor Eocle $C|.OC|
Goitl Eiy Slaiule $20.00 duly Uomond Fo-o $D.DD
$t»tc.oo Juegmenti”otal ee.ect_e`ed`

Toiai Demegee

$3,461.96 Total Goete tit Dlehureerncnta

`l'he following named partlee, addressed end identified ea creditors hciow:

F’ielntlff oradltor(e] and address

('i') RENNBSANCE l'c'.'“.l€lil.,i"\"t" HLDGS F LLC
1412 ERDDKLYN AVENUE. BRC.\DKL.YN, NY 11210

$h'aii recover ofthe following oertlee, addresses and identified as debtors oniow:

?-“ ' ¢.` ' ' ' '
Dofondant debtor(a) end addreee

m inn ean tacoman

1210 LORING AVE APT .'ZE, Brcoiciyn, NY 11208-5043

.lt_tcigrnertl entered et the Klnga County Eivll Court, 141 L|vlngeton Street Eirooltlyn, N‘¢" 'l'liifti, in the S`i”ATE OF l`\lEW
YORK in the total amount of $3,501.96 on 09103!2£`.|15 at 12: 26 PM _

Judgmcnt sequence t

MM q ..... ,

Garol Alt, Chlof Cierl<

Fig.`-

good CL‘ER`Q
god
t<.cl:'r\t\{db <:OU my

l'-'ego 1 cit

nepa ee

 

 

 

 

ii

    

e'»‘_;/H{€an‘ w nm_-..__ _ , g

?’e.

i;.:o%‘o§§ooo" -;.~'*

§

 

Case 1:16-cv-02134-ALC Document 86-55 Filed 08/18/17 Page 40 of 52

CIVIL COURT OF THE Cl'I`Y OF NEW YORK

CCJUNTY OF KTNGS: PAR“I` 34 iNDEX NO. 755'7/15
............................................................. X FI[,E NO. 19022

RENAISSANCE EQUlTY HLDGS F, LLC,

Piaintiff, AFFIRMATION OF
SERVICE
- against -
MR. ER]K RODRIGUEZ,
Dofenciant.
---~ ~“X

 

--------------------------

Gary Kavulich, Esq., an attorney duly admitted to practice law before the Conrts
of the State of New Yoric hereby affirms the following under the penalty ofperjnry.

On Decern.ber 3, 2015, l served the within Affirrnatio.n in Oppoaition upon the
Defendant by depositing true copies in post-paid envelope addressed to:

Mr. Erik Rodriguez
1210 Loring Avenne, Apt. 213
Brooiclyn, NY 11203

in an official depository under the exclusive dominion and control of United Statea
Postai Servioe within the State ofNew Yoric via regular fire as

 

Gary Kavuiioh, E`Sq.

F'ago 40

i_,,'n'rmrli?ii_i».'

Case 1:16-cv-O2134-ALC Document 86-55 Filed 08/18/17 Page 41 of 52

iNDEX NO. 7557/15

CIVIL COURT OF THE Cl'i`Y OF NEW YORK
COUNTY OF KINGS: PART 34

RENAISSANCE EQUITY HLDGS F, LLC,
Piaintift`,
- against -
MR. ERIK RODRIGUEZ,

Defenclant.

 

AFFIRMATION IN OPPOSITION

 

Signature R.nie 130»1.1~a

 

Print blame Beneath ~ Gar§'/ Kavniich, Esq.

 

Kavnliob & Assooiates, P.C.
Attorney for Piaintifi"

181 Westchester Ave., Soite SOOC
Pot‘t Chester, NY 10573
(914)355-2074

 

P’.'lge Al

Case 1:16-cv-O2134-ALC Document 86-55 Filed 08/18/17 Page 42 of 52

Kings C.ounty Civil Couri
Civi| Judgrnent

Plai`mirf(s);
nennissANc:e eoni'rv iii.oes F LLo

index Nutnber: CV-D[}?SE'."-i£fi'{i
Judgment issued: Qn Default
Cln Motion ol:

VS..

. Gary iviiCi'lae| Kavuiich
D§§"§§F§(§@R|GUEZ 131 Wesichasier eve sia sooo, aaa seamen

NY 105?3-5522

N"";‘Ui"\ claimed 53,421~94 Indoit Number Fee 345ij `i“ransr,ript Faa S{}.UU
Less Payments made $D.Ui_`i Consomer C.radil Faa $U.UO County E!erk f-"ee 553-00
LE$$ C°u"lE-'Tdaim 0"55`[ SD.OU Eervir.e Faa 525,00 Enforcernont Fee 550. UU
mmer 12“31 lar-iia 319% $540,02 NDrt~Mi|ilEfy i'“'r.`.'d' SU.UU l`_‘)!her [`.iisi;!ursernunts $D.UD
A“='msv rises (ssoo.oo) Nauca ar neil Faa so.oo owe ease 3000
COSt By Stetute $EU.UU Jury ilelnand Fee SD.DO

 

Total Dal‘nslges 533-161 .95 Totei Costs & Disbursen'ionts $140.00 Jodgrnent Toiai $3_.601‘96

The following named parties, addressed and identified as creditors below:

P|eintiff creditor(s} and address

(‘i) RENNSSANCE EQLJ|TY HL.DC-SS F i,.i..E
1412 BRCJC)KLYN AVENL|E. BROOKLYN. NY 11210

Shait recover oftl'ie following oarties, addresses and identified as debtors below:
Defendant debtor(s) and address

(1) MR ER|K RODR|GL|EZ

1210 LOR|NG AVE APT 2B, Elrookiyn, NY 11205-5043

Judgrnent entered at the Kl`ngs County (.".»ivil Court, 141 l.ivingston Stl‘eet, Brooklyn, NY 11201, in the BTATE Cil: Nt~"iW

YDRK in the total amount of $3,601.95 on 09103]2|]15 at 12:26 PM»

Carol A|t Chief Cler|<

Judgment sequence 1

Poge 1 oft

Page 42

 

 

 

 

 

i-“`" .
,rtinrt oi`tiic Cily oi`New York
ol` limits
______________________________________________________________________________________________________________ jr

llen.n:>sancc 11quity lillng 1 LLC, .il_ii}€.`i`n'ili.'i\i'i`

F`“ Case 1:16-cv-O2134-ALC Document»86-55 Filed 08/18/17 Page 43 0152

 
    

Pi./'\iNTiFi-`[S) index i~fo. 7557!15
1"1]1': No, 191122

 

 

~again:;t‘»
d 1412 i.irt.loi;iyn A‘-‘unllt.’.
Mr link Rodrigue:)_', ijirooicl_vn, NY l 1210
13111"111‘~"[)5\1\1"1`1'51
. ............................................... x
1.1¢‘~.1\11(.>1..11‘~1'1` CLA[MED LESS FMTS Qi\i ACC"[`. $2,9`21.94
"lN’l`i:i.RES'i"i-`"RGM 12101/2013 $370_69
SUB`i`O“i`AL $3.3(11.63
COS"[`S BY.'STATUTE 520.110
SERViCE OI" SUMMONS AND COMPLAINT 525.00
Fil_.i'NG C)F SUMMONS AND COM`PLAINT 545.00
PROSPECTIVE ivi.ARSI“iAi_.i_.";-‘» FEE $‘lf_i.lil)
NOTICE OF iNQUEST 5000
TRANSCRIPT 1111 DUCKETYNG SO.()U
SUBTOTAL H§`l_,ii(.`i.l:_l()
TOTAL $3,-'131.6]

S“l`r’-\TE OF NEW YORK. WES-`I`Cl‘IES'I‘ER COUNTY:

h1`1-}.1_:f UNDERSIGNED, A'l"I`Oi'\'..NEY AT LAW OF THE STATB OF NEW “‘r'(.)i~ti{. ()Ni_`i OF THE
ATTORNEY(S) OF RECC|RD FOR THE PLAINTIFF(S) IN 'I‘HE ABOVE 11N1“1'1'1.ED AC"i`i(JN,
STATES THAI` THl.t DISHURSEMENTS ABOVE SPECIFH`D HAVI'£ 151311`\1 f)it W` 1
THERE|N AND AIUE`. REASONABLE i.NAMOUNT: UPON 1`A1Ll.iiti1 1(3¢'\1\1 ` " "` f"i`i
APEEAR .AND ANSWER HFR.EIN iiAS EXPIRED AND TiiE S.‘\il`) DEi`-“i`£ N 1 fri
Hi:REiN. '_I`HE S'i ATU i`[i OF Liivlli ATiC)NS iiAS NOT EXPIRED. iii ¢*",FJ,/

.-‘\Rii.`t” 1511 -.‘vl.‘\i`)if l'_}i{ i.»"~'£fiji{itl.ii`]
F OF ‘l`i‘ii':` lJi`ii`* \-iijir‘\.i"~‘"i"lf".>`l 'i`(_`)

  
    
 

  

UNDER T 1le I_JENALTI.ES OF PERJURY.
oareo. tongs Nv - _ _ .
05/12!2015 H. iLIC`.\I-i &.ASS IClA'i"f;`S. l’.C.`.
\ 13 : Gzn‘y Kavu|it;ii_. Esq.

181 Wl;'i$‘[`Ci-i155'1`111?. A V EN 111 11, Si_-'i‘i`i§:` 51111(_",'

i’OR'I' Ci-i.ES'i`Ei’-t, NY 111573
J`UDGMENT EN'i“ERED ON
"`:iERViCE_ OF SUMMONS AN'D C()MPLAi`NT Ii`~i 'i 1113 AC.` “'.11(}1\1 ON Ti-iF DEFENDAN "1(5) -
iiEREiN IIAVI'_NG EEEN COMPLETED GN 05/021'2015 Wi'i`i-iii\i '“Tiii£ (,..1“! Y 01 NE W YOR!\ (.)N 111/\`1` i`Jr\E AN{`} \1111111;=1'1111\' _._"‘i
_oavs ' . ,., ,i _` __
1 nnva aLaPsEo r- ~ ;;~ l ._j
1 B‘t' i`iLING ON SAiD DAY OF I’ROOF OF 'IHE SERVICE ”1`111_1111: t'.)i" BV Snbstituted SERVI(_ 11 Oi\’ i.)F,i-`.Ei Nl};~\1N i{!\.i;\ if ‘.r"
AND MORE THAN 30 DAYB HAVING ELAPSED SINCE Ti-IE DAY Oi C()Mi°i 11 li(JN Ol' SERWC ii. ANI_) '“[111§:`,_"1`1;'\1113¢€111 S_`M‘D

DEFENDAN‘[(S) `iO Ai’l"EAR AND ANSWEI?. HAW`NG EXi‘iRE D, AND r,. -.

Now on MoTtoN oF F.:Avot.tcn a AssootATES. P C.. AT'l ones v{s) t on rita r>LAinT rFFts} ii rs CAo\i root o _ti-i -i l
Renaissant:e _qu.\ity 111ng F LLC C\_a -
Ri;-.SIDING AT: 1412 _Broolti)m`Avcnue, Brookiyn, NY l 1210 r ,.‘

R.ECOVER_ UF: Mi‘ 1:.1‘11€ RCI<ll“itheZ - C`_T)

rd_'-

RESIDING A“|": 1210 i_.oring A`vi:nu¢, Apt, 213 Brooi:iyn, NY 1120$~5{143

TH.E Sl.h\/i C)F $2,921. 94 WITH iNTEREST OI` 5379. 69 MAKING A T'O i`AL C)F 33 3111. 63 IO(iETiiERWi"iii51311.(1£1(.`()$1$ A_?\.'i..)
ljiSBURSEMENTS AMOUNT!NG 11\1 ALL 'I`G "1 iii“i SUM 01 513 431.63.AND"'111AT PL.»’-\IN FlFi` ii!-\.Vi_`i EXIE(" liiii'_)N llii:` iti_'-_' 1 CJRi
SEC`OND_ AND I`lilRD CAUSES Oi"` ACTiC)N ARE iiFRt`.B'Y' WAWED.

 

CL.ERK

vega as

. FFIR.MS ‘i"i-iIS S'i`r\`I`i.iMi'iN`i` `1`1._`1 1311 `i`Rl_.-ii.i`

 

 

Case 1:16-cv-02134-ALC Document 86-55 Filed 08/18/17 Page 44 of 52

AFE'IDAVIT 011" SERVICE
' Inr:lex 111 755'1'/2£3§
13er covers on one cmr oe new voec pace eilen: g_/l_e{m:zhg_;,_§
KINGS COWTY

ATTORNEY(S}£ KAVULICH & ASSOCIATES, PC
__ ADDRE.`.SS : F.l.l.e 1110 19022 -.'-'-.
L 11

P.ENAI$$ANCE £‘.QUIT:§ HLDGS F LLL“; 1 /,..-1\
eleinr;.ir.rr_u eeei"i:“_'rej»erre;

ve . \ 1_,¢_‘/ _,
MR. ERIrc nonmch “';,_/,-'\
De£ono'.mt rel /Re_§pr§.»?dr:ht» 1a

 

STNI'E OE` NEW YOR'K, COUNT‘£' GE' Q£JE;ENS 1 SS: i:_..
Y.`P.NNICK JHUGDED, being duly sworn aeye: neponenc i.e not n percy nerein, is over'”"l'd" years
of age and resides in New Yorlr; Statc. on 3/21,\1'2015 at 1213$ PM
at 1210 coerce necechl mann zc, eeoorn.ve, nw 11203, eep_m`ene served cna within

SUMMONE & ENDC'RSED COMPLAINT
with index Numl:)er 7557.#'21]15, end Date File 2/13/2015 endorsed thereon,

u_u_..

on: MR. E.RIl-r; RODRIG|.JEZ, Defendant therein named

. “1 '1,' ‘ 3
111 JNDWlDUAL -_By dellvering a true copy or each to eald recipient personally: deponent me person served to ne the person described

_ []` _ nc said person tncrein.
#2 GDRFO Bv delivering le end leavan wi!h end lhe1 deponent know the person co served 1o he Maneging Agem or mo
_RAT|GN corporation end authorized to aeeapr service en behalrer the corporation
[ 1 Servlee was mode ln forlowlng manner error your deponent was enuble, with due drifpenee, to serve the

Mlneeer’defendanr fn person end an attempt to locate me defendenl'c place of ern,nlo_l»'rnenl‘v
#S'SUITABLE By delivering a true copy of each lo 13
AGE PERSDN er person of eullable ego end dlccrelion

[X] Sald prar'nieec le reciplanl‘c[ ] aclual place of buslneee [X]
": 1 dwellan house lucua! piece cl ebodc) wllhln the elele.
MDFF|X|NG Ely al|l>ring n lme copy of each re the door of acid premlsce. which le reciplenr‘e: [ ]X accrual place or buelnese [Xl
_TD DOGH dwelllng house lucuel place of abode) wllhln inc slere.
` 11
115 MAlL 011 geogng deponent completed eorvlce under the lest two erection by depositing a copy cl rhe §§lMMGN$”_&
GDF'Y F' lo lhc above address ln n 1111131£1513 poelpnir.l properly addressed envelope marked

1 [x] "Pereonel and Conlldcnliel“ fn en ewclel clepne|lnn,r underthe excluclve care end custody ol the un|led Slnrec Posl
-‘1 : Oflloe 111 the Siele of blow Yorlr. Eerlil'recl Meil No. Dcpenenl was unnl)le, wilh due dillgenoe lo find recipient or a
person oIeuHable age end dlecrellcn. having called lhereel on Al on At on At

#?‘-{115:5@1'11 I_\ deec.n`puon of the l.`.lefendnnl, or other person acrved, or spoken lo en oehell'of lhc Delendanl la as followe.f{":i]

`F"l'lClll ch: MALE. Color cl Sldn: ERGWN. Celor cf He|r: BLACK 11 GRA\', f\_qe: ECr-B§. Helghl: 5'£116'0. Welg§l: 113'_1»2_£10.
1 [K}‘ Olher Feelures: §§ ~__:’-_:1»
115 WIT.FEES 'l”ho eolhorlzed wl'rnece lee end for lrevellng expense were pa|d (1cndarecl,'1 to recfplent. § r~’ _J_"_
1 3 253 "_" ¢':
119 Mll,lTARY Deponent asked person spoken to whelrmr the defendant wee proaently 111 rnll|lary service of the Llni@d:_
, BERVICES Stetee Governmer:t or the State of NEW YOHK and wee lnforrned that defendant wee not. "‘3 '“_E’,',-c_
`Z.` _[] _ __ .

r

 

 

l 111
seem en m ev 201 %/,, ®@, _
" 11 c Huc;or-::o
S o ncr women

THOHAS A., DUNDRB
'NOTARY E'UBLIC¢ `Sf‘,at;e of New ¥ork
NCJ. DlElUEQJ.GBlB. 'Queli£ied in Queens Counl:y
__ Cenvni:reion Elx_pires 11/30/2013 ¢p-

14

11
PROCE$$ SERVE.R E‘LUS IN(.T. LIC¥ 107'7130‘1, 95~‘11 1015'1' AVENUE`», 2119 E‘L¢ OZONE PARH. NY 1111.16

cage 114

 

3§?§5;§5:;:2-‘»;-€-31:\*»::;¢.¢1¢,»_¢.,1 -..- ._ .._.

`”>"?5§%

J

.. __S;e;

33

 

Case 1:16-cv-02134-ALC Document86-55 Filed 08/18/17 Page 4501°52

................................................................................ §§
,....r;ce `Equity I-Il'dgs F LI,C,
, .‘ . .-\Flm),~.vrr c_n=* mc:*r:j~;
r=LAIN r1 -r- 5 ...\. .. \.
l l f ) com 1 11 mmc 'rm; cg.rl.AIM
ll `_ ` _ *1'1\1\51)1':¥¢',x1`i1..'r AM) ‘r"mz
AM\;)UNT mm
~E\gnin$l-
Mr ririk Ro<iriguuz, Incicx Nn. 7557/15
.' -\. ` ')".‘|
DI;I=[=¢NDANT($) m w m““
____.-_-.__|.z-:h .................................................................................................... x

ES“T'ATE OF NEW YORK, CDU'N'I`Y C)F WI`:‘,STC|"IISB'I`I€R:

SS: {]ary Kavulicl'\, Esq. HEREBY DEI’OSHS AND SAYS UND`ER Tl'lli FENAL'

P:TI“ORNEY FOR THE l':LAlN'l`[FF(S} lN THE WlT}'I[N ACTION; `I`i‘US AL"I"I`IDN WAS f_`T\'_`)M:\.-H§N(".`[~l[_) iE-Y Sul§sl'l\mecl SIER\J`I(`IIC O]~'
'_]HE SUMMONS AND C..OMPLAINT UI’ON DEFHNDA`NT(S] AND IS AN AC§`I`!ON FOI`~" RENT I.`)Ul:` AN[J OW|NC} F(.`_JR (»\F`f`ir`.l{
{’LP[`~‘LICATION OF PAYMENT AND SECURITY DE.|"OSlT)

Dc¢<:mbc:r, 2013 BALANCE OF $72}.94;

.¥ar.\uary, 2014 TH`R.OUGH ANI) INCLU`D!`NG I"`<:brual'y, 2014

P&T'THE AGREED MGNTHI_.Y RI£NTA.I, OF $l.lOD,UU

A`LL 01`HER C`AU$EB O'F ACT

I`IES ()F PURJURV, `]"!'I.'\'l` DI.ZPONE.`~.`NT lf'.i "l`lll`i

TUN ARE HEREEY WAIVED AND DISP()SEEYJ, AF'
TNVESTIGATION '[‘HE DE.FISNDANT IS FOI.J'ND NOT TO Bl`r" IN THE M[l.l'!`
YOR_K. REN'I` WZAS NOT PAID BY ANY C)THER SOURCE. 'I`HE S'I`ATUT]:`.
AFE!RMATION UPON H\IFOHMATION AND BELI`EF, A BF.].IEF FRE[)]CATEIJ LJPON CONVERSATIONS WI'i"!'I M"¢’ Cl.|l`ix”\‘"l" MY
[NVOI.VEMENT INl THE PRC|CEEDING AND READING THE FILE IN Tf-{IS CASE‘

§EQOND A_NID_ THIRD CAUSES Ol'*` ACTIC)N ARE HEREBV WAWED.

‘ _ ` .W"H'ER.EFDR_E DEPONENT BEM`A`NDS JUDC`»MENT AGMNST DEFI‘;NDANT(S) l"OR $2,9""
RI'Ul/ZC|]`J‘ TOGETHER WlTI-ff COSTS A`ND DISBURSEMENTS OF THE ./-\CTION`

I`ER A Cl'_)Mi*f.F,TE. AND '[`[‘{OR[.Y)LJ(`:`I'!
ARY AND RESIDES WlT{-II`N THE S'I'.J\`T`E (,.JF Nl"f\\f
()F LIM[TATIONS H.#\S N(j)`l' EHPIRED. 1 !‘vl.»'\l'ilf". T}‘]IS

WI'I`H [NTER\`EST I"R()M

  
   

\

KAVUL C.H 85 AS OC1ATES. F‘.C.
BY: C`jury K:lvulich, li:sq.
: ~.'.‘. - ‘ ' \ 131 Wv.:siches!m‘s\vcnuc, Suil¢ SUOC‘
‘ =.. .`~.' .-' l*c:r‘t Chestcr. NY 10573
m THE DE'FEN`DANT(S}: PLEASI~: TAKE NO'l“lc:E THA'r me wm

IIN IS A TRUE COPY D\" A .IUDGMI£N'I` M.»'\[)]j AND [`:`N`!`l§il§fi`i`)
IN jl`!-IE WlTl-liN EN'I`l"f`LED ACTION AND DULY FELF.D lN '1"HE

oFFlc::z or~‘ wm alarm or-l 'n-m c:c;)uw‘r am
`DM‘ED:»wESTCHESTER, N;Y Yc)umz, ETC., `
'.- - .05!12;2015 » M‘TORNEYS 1'=‘01: meN'm=x='

$TA'I'E {JF NHW YORK, COUN'I`Y OI-" 331

BEYNG DUI..Y SWORN`, DEF'OSES AND SA`YS; TI*IA`[` DEPONIZNT IS NOT A PARTY TO T!-IE ACTIGN, lS OVER 18 YEAR.S L`)l" r’-\Gl::`
:-\ND RESI`DES I`N

TI,IAT` C)N " DEPONENT SERVED A TRUL:". CCJPY OF 'I`H]:“. WITHIH JUDGM[`:`NT AND NOTIC-E OF EN`|`RY
(EACH O]:') THE FC)LI.DW|'NG NAMED DEFENDANT(S) AT THE ADDRESS(ES) INDIC!\ I`ED (FUI{ EAC`I‘I):

‘ = TING sAME ENCLOSED m POSTPAlD FROPERW ADDRESSED wRAFPEfz<lS}, IN '_“A Pos‘rc.)1=1>‘§€1-:_“`c__)l-'r-'cm.;\l\i’
§§1=1§)1§1;?§§‘[ UNDF,R ma ExcLusl\/E c:.ARE AND cUSTODY mr THE uNrTED gm las 11031AL sr-.ch:L-, wu H:N wm
YORK STATE.

SWORN'TQ BEFORE MEON'

\ `

'1`1‘1{".RI3C)I"

Page. 45

 

 

Case 1:16-cv-02134-ALC Document86-55 Fi|§§£§{l$/l?

Page 46 of 52

`,_`,1... .-¢::\'1-' ‘!"()rk'
_ Mrny Q`l`Kig'lgs

 

 

__________________________ \
`Rmissan¢q Equ=iry\Hl'<rgs F 1.,.11€.
.~1. ., 1 1114'1¥'1111.11\'1‘1(.1:\' 1111
. > T" .“: ~
_ _ l LA"“ 1 " 1 131 3-11\11,1:~.‘11 01=111;)1)1"1'1»:).-\'111.,
~ -- » Nc)'rlc.'1: 01=.‘1111'1‘
-11gaim11-
_Mr Erik R<Jdrimmz. mem 1101 1551/15
1 ="1 1~1_ 111022
;` 1.)1_-'1111~1111\1\1'1‘(51 h a 0
x

sTA“rE `c)_F NEW Yom_<;, coUNTY QF wESTm-uzs“rrar<;
351 amy Kawu¢h, Esq. 1-113111113\’ DE,FOSES AND sms
1`. mm 1115 A'rroRNF,Y 1011 11113 P.LAlNTm-"(s) 115111111~1

2. 'I`HE. ABOVE ENTlTI..ED .)\C'].‘IUN IS AGAINST A N:-\TURAL l’iil{SON AND 13 BA$I.ZD 1\11'-’[`)1\‘ NO.N 1".1-\. ‘1’;\11€:`~"|' (.JF .~\
CONTR_ACTUAL OBLIGA`TlON.

3, {_`)N 0410$/20[5, I MAII_.ED 'A COPY OF THE SUI\'IMON`S AND COMPLAINT 1N '1'1"11"£ ABOVE EN‘I`['I'I_,E[J .~\.C"I`ION 13 \"
D]“§.POSITING THE EN`VELOPE{S) IN AN OFFIC` 11\1.. DEPOSITCJRY UNDER THE `EXC`LUSFV'H C`ARE A?\;'D (`.`l.IST(`)D':' (`)F '1`1`-111:“ lF_.`.:§.
P.OSTAL SERVICE WI“I`H[N NEW YORK STATE. S.A.lD MAILINCJ` WAS BY F]RE`S‘|‘ C[.ASS MML 11`\' A 1"()$'1`1’.»\11) IE.N\»`E;.EI_.(_JFEFS),
`1’ROPE`.RLY ADDR.ESSED TO THE l`JEF.ENDANT{S), '1'1'11.€ ENVEI_.OFIE(S) 13()R..E THE I,EC§H.END

M U`N_lCA`lTlC)N WAS `FROM AN AT']`OI{NEY OP». CONCERNED AN ALLEC}ED DEB`R A'I` 1313}`~'1£.‘\’1')¢1\.;`\-"1"(51.'
,¢` -‘ "~'LA§T`"KNOWN ADDRESS A“l` Mr Erik Rudrigu<.-z, 1210 haring A\.‘e:mlu, Aptv 213 Br'm:)klyn. N‘r’ 1 1208-51'143

“PE.RSONAL & CDNFIDEN']`IAL" AND THERF:` WAS NO l`NDlC,`-AT!ON ON '1`1'1[€ OU'l`SIDE 1'_)1~“ 'f'HE fiNVEL[`_`)P[;'r_:S) '!'1-11-\'|' THE
§<M

-c

1,».-....1>111111:15 01‘ EMPL<:)YMENT AT;

§1"1_11; ENVELDPE BORE THE LEGEND “PERSONAL & Cr;;)Nr-‘mEN'rl\AL" 1\1\11) '1'1115111:“ \w\s 110 11~'1)1<:1\1‘11;)1\= 1111 '1"1111 <1)1:'1`1;11.)11
DF THE EN\!ELOPE THA'r “1“1-11§ CGMMUMCATLON wAS FROM AN 11'1“1'1)111~15\' 1111 cro.\‘cmmr»;n 111 r1111';1;31:1.) 1')1;511"1‘.
'~-~.~..-_A KNOWN ADDRL=S$ c)F THE DEFI€NDANT AT:

:`1‘11`1$ A'DE')RESS 15 N<:)T ma maxwech 011 PLACE 01= EMPL@YMENT c)\F 1111=, 13121~1;:\1131\:»'1_
m » FGRHMENTK)NED 111,111,111:1:

H_AS ND"T BEEN R.]-_"ZTUR`.NED UNDELIVERABL.E BY POS'I`AL SER.VICE.

 

Pags- 415

 

 

aai=rrearee~e'-»- _

Case 1:16-cv-02134-ALC Documen186-55 Filed 08/18/17 Page 47 of 52

.d -m-.-r'- "'"" \;.111- .`\\y},mu-ou~\ - '"

C`i\rr'l Cour't o1'1he City 0'1"N1`3W Yot‘l<.
Cot.ant.y 01` Kings

 

- - ...................................... ;\é
Renaissanee Equity Hldgs F LLC lNDl`:`X NO'
111'11...1;`5 NO; 19022
PLAI N'I`iF 11
l AFF[R§YIATION ()F FA Cl'TS
-against~ C.`ONS'I`I'I`UTING THI"I
AMUU` 'T DUE

Mr Erik Rodriguea

DEFENDANT(S)
"“‘7.":§ ““““““““““““““““““““““““““““““““““““““““““““““““““““““““““““““““ X

hereby deposes and says under the penalties ot`per_itir)-', ssi
That deponent is the managing agent of Renaissance Equity 1311ng I-` LLC, l’laintitt"in the within aerion,‘ this
action Was commenced by substituted service 01“` the summons and complaint upon detendant(s) and is an
action for breach of a lease agreement in the amount of 1112,92 l .94 for the months Deeemher, 2013 balance
of $'1'21 .94', .l anuary, ;2014 through and including Fehi'uary, 2014 at the agreed monthly rental amount ot`
$1,1130.00 per month (after application of security and after application ofpayments) no part having been
paid, a1though duly demanded and Damages in the amount ol’.‘lit).OO. All other causes ot`actr'on are hereby
waived and disposed ot*. After a complete and thorough investigation as 1 have been informed by Plr.iintit`t"s
eounsel, the defendant(s) isi'are found not to be in the mi1itary' and reside(s) in the $tate of New York_ Rent
was not paid by any Othcr source 1 make this affirmation upon personal knowledge

WI‘IEREFORE, Plaintiff demands judgment against defendant 1"01'.1)`2,921.9-'1- with interest I`rom 1301/2013
together With costs and disbursements of the actionl

[`,ia1ed§ 5\"~'”5-\\5 _

Sworn to_.l:iefore me 0

this gf§.” day as _ _N_'
if

l GARY KAVUL|¢H
' Netary Puh|te, State of Naw ¥ork
No. BHKABMEBM
Qua|ltled tn Westehaeter County
qumlen|un Explree May 11, 2017

  
 
 

 

 

l‘~lotary Ptd$lie

1.1

 

Page 41
. .,. .

-. . .¢§'&'%'?.e““<_- .§::c>e.-m. _____ 1 1 1

1§1§;§4;¢??2§§£§§;%% §§ 1

 

Case 1:16-cv-O2134-ALC Documen186-55 Filed 08/18/17 Page 48 of 52

 

` _.._t __ ___________________________ };
R¢'j'lf]l'$$&ncc _Eq[_|j|_!\r$`g;[‘gdg$ F L,.l,,(l`_'

1 ‘r ‘.“ \.' ' ‘( .‘
eW»-» 1>1..A1'N'1'11=Fre) §§i§§”@]-{~Fz'-_

 

 

-»agait'isi-
Mr ` ' Rodrignez, index No. 755?! 15
1559 File No. 11)()22
DEI"`EN DANT
ii 1 x
STATE OF NEW YORK )

)SS.:
CouNrY‘ 'ot-‘ westcuss‘rsa)

1 am ever 13 years ofage, am not a party to this action and reside in Westchester County, Snite oI`New ¥ork.

l.have been requested by Kavulieh dc ."1.\;soeiates1 P.C. attorney

_ for the Plaintit“f, to make an investig
Ro.cl_rigue_z is at'the present time in military service t'or the purp

ation to ascertain if the Det`enrlant Mr l;`iril;
osc ot`entry oi` judgment
C)n 051 1212015, I Denise Miranda contacted the Dcfen

1

se manpower Date Center concerning the Det"cndant i\»lr Erilc ltodrigue;r mtlit
inputted the social security number, as provided by the Dei`endanr, into the Det'ensc Manpowcr Dara tTerner.
tinder the Det`endant*s social

i_s not currently in the milita

dry status

security number 1 received en affidavit from the Dct“ense M

nnpower Dam Center stating that the said ti`JeFendanr
ry service ofthe United States and the Stnte cf New Yoi'lt (`N

ationo1 Guard), s

e:;>e~/

Denisc Miranda

Swoni to_ before me
this,Day :\.'2__ of f
l '

ramey Peeiie

idai'y Kavuiich

Netary Pubtie - State of New Ycrk
No. UZKAEIO$EI 5

Qualified in Westchester County
toy commission expires cis/1 11201 7

page ea

Case 1:16-0\/- -02134- ALC Documen186- 55 Fiie'd”©‘§i'F/l? Page 49 of 52

12-"9:111!.'=11';. '.i!: Mt\y-\P.-llfi`l-F\ 03 112 §t":t I\M

-¢enee M_-.;mpower Data Genter
Lif..'l`i‘.-'\ '.1 il

Si.'ai‘tts Repori!
Pursnantto Servieemeinbers Ci\ril Reiief Act

   

i Lest Name: EQIQ_,_,FW§M..E_§
First Narne: ,E_Bi_t§

|Vlidd|e Nan'ta:
Acti_ve Duty Status Aa Of: |Vlay-‘|H-ECH 5

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

. 011 A.t':t]\iq Duty Qn hci.i\ro Ouiy Strlios UE_i_u_
F A=iiim D`\liti Sitm Duva ' 1 native outy erie train sums “_ armco component l
NA tim . ,;'-.' i". ’ '-"""1‘,’-" ' "-` .. tit-imm ___ mt _”

r: ll "F v `|'hi; ruwon$u miloct:|:l_j‘ia`lr.*dit‘_t'duiiis' netin duty status busu_c_l oh lite Aelivo i':iu:y $ta:us iiiatn w_

»l .__:_ 1 :",\.;.v¥ _gj-l_ " l
t-; , . 1
"h’r_q" - t_nh A;:\ivq Dutt,- W¢tl\in 357 DM_°{ A:iiv£t Duly BlRl|-H= mild ____ _M_ !

Aettvo Duty St:trt Driin ' ' Aeli~'o bow End Dnlu S\riiira isamce earned-ml _m
' ’ NA *-' -, `: i”""i NA itc m_ ira
1 This impooge rnhot:tl fi$'+'nl"tir individu.cii i’u‘i‘t__m_ ti`etivu dut“j"§tltt,trt\'|i.hin BQLQH-e preceding inn Ar:t`rtrn Dt. ry t'iiei'utt Dil-'t\ _`__
E:'.'.'Fi. iii dwth ; 11 `W__,.-“ \., t_ £
` q l it ` . t c i:_ l ;

mt umw ar tractor un_ri wei limited 01 § Fi.iterri ca11-up m item De]y_rin A-tt»`vn river 51‘-11\-\= D»lfr _M,_

-‘ " i.‘JFdBt" --=E_nd nativ- pe- La =_1_15 rt i~ t »- \. 1 . __siuwa Me t:err'r»enent
~,'“'q`NA`l"i' -. w - l .. \- rio rif- ___

Tms maurice mcneil vmeih`cr].ttc‘ii'iciiiieunt is'r distinction hal r::_r.:£ivcd early -rt to report for act1-rn cuty _m_

.` ._" _ ,_ ..1, _\ .

 

 

1# g _
am ct buiensc Mcnppwer Dete C`epter. based en tim ir\itirmaii€>n ihei rod Dfsv\dsd ihs whose is the Siaius '='i

Upon searching inc ceta banks ct the Deparim
the'indi':‘ir.‘iual on the active duty status date as to eli branches ci the U¢iiiorrn'a'd Servii:'es iArmy. Navy Marine Gerps, Air i‘~oree. NOAA. Pebi;e i~ie.siih. and
Goaet"G-uerd) Thia status includes information en a Servicemembcr cr hieiher unit receiving notification ci future orders to report ret Active Duty

1a M»y»£i,e».

Mary ivl. Srtaveiy~i]ixort, Dit'eetor
Deperimertt ci Defonse - Manpower Date Cenier

4800 Merit Centcr Drive. Suii.e 04E25
.i\riirtgion, VA 223511

 

,
- . Pee¢ 49
` RMW

 

. tr i 52
Case 1:16-cv-02134-ALC Document86-55 Filed OS/,J,,§lriiti`r'eei.M@i ‘Of

in tirir.,ti:l‘t)
__, .
_ _'_W mm é__anmr(m,ipc) is en meantimth Olllte Depertmertt el Defense tilth th
i relitian Sb'$lum tDEERS" dumban which is ma omcm| aoume m

et maintains il
data on eligibility hit ml'l"=`*ry mdma

le Del'erise Eriio1iino

1 rit end Elig t‘-i-:i,i
icere end other et l

wm mm strongiy supports the enforcement cl the
ma $D]d|im.$- and Seiiors' Civ|i Re|iel.i\ct of 1940).
individual is currently on active duty" resi;ioneeol er
merritt-en friend. or representative

protections of the SCRA. you ere

"i:teienseiirik,mil“ URl_: http:ilwvm.delenselinlr mill
dots-eliot you felt to obtain this ed

igit:ii:ty systems
Servicernerni:iers t_`;`ivit Ftet

rome lee usc Arip. § ser iii ore
DMDC has lsstier,t honore

its of thousands ot "itoes not rio
smell error rele. in the event t

d t _ el ives on active duly lor the active tlllly tileit,'s dole or re otherwise r-_imi;;r-,Li iii me
93 o obtain tunhei venticetion of the persons stems ny contacting that eorerio‘s Servi're
_ _ . . tt ou have evidence e r ' . ' n
dmonal Sewice ' y th tie son ives on notiin rt

. punitive provisions oithe SCFEA may tie invoked ag

es oriiondedi tSGRA_i i'ti:irrrieri_i' irno'.eri ."i;
ii$'!li"=`- sits information insisting tier me
he individual referenced eliovii, or e:iii r`iir'rii`iv

id lies experienced only e

tire tire

atty io.' tire active duty stories
sinst your See 50 lJSC sep § tiiirc_l.
ive Cluty status on lite At;li\lt! Duiy Status D

eis (E‘t W."lettier the irtdiiiid
other the individual or hist-her iiriit

ir»'il tell fictier
received early notification

to resort for ectisi_i

: cn_,"ii-\ctlve Duty Stetus"
Active duty status es reported in this certificate is define `

m 3 v _ only some et the ei:tive duty periods iess
eni til-consecutive days in tongth were evellel:)|e. in the case ot a member of the N `
authorized toy tl'te President

. tlirs induces service tinder .tt colt to notice service
rise under 32 USC § 502(l] for purposes of ro

pending to s nstion:-it eriiergriricy oostereii try the
signed against en authorizes rrip:.~iii'zri:;ori rzoe;r.-'c_n
Admll'llsll'iill€ll"l C'l lite Fteeerves tTARs), Meririe Corps Ar;tive Ri::serve tAFtsti end Cr.:es: Giroid Rr-.si.in»o
l':’rog_i‘,ern Admlnistretor {RPAs). Aotive duty status eis-o applies to e uniformed service member iiiio is

F’ubtio.,_l-leolth Servlce ortho Netionei Ocoenio end

en active duty ocrrlroissioriert ofdcnr ot the LttS
Atrnospherio Adrnihistrotion (NOAA Commtor,ioned t':oros]
fit- L_ _ .

.rt the

C_overege t.inrier the SCRA is Etrcsder in Son'ie Cssee
Cc`ive'rege under the BC.litA is lo`t'oeder in some cases end includes some on
reported es on Active Duty under this certificate BCRA protections aro lor
`t“it|e 32 tieriods of Acttve thirty ere not covered by SGRA. ss defined iri er.

testifies of persons on active only for purposes el ins Eit':li_i‘i ietieiiioii=i: nor i;-_i
TlllB 10 end Trtie 14 active duty records for all t.‘io t_init`:trrnec Er_-

tv:ci;-ri concert
oordoiioe with to t.rSC § teitdit iii

hit times orders ore amended to extend tim period or active duly' whim Woum extend SCRA pmmdioni p n n
eYiY_ - id hook to metro sure the orders on which SCFtA protections ore beseo‘ novo not noon amended to renew ore inciuii_w.¢! dam m M_“__NM
cortllittetion shots n r,;‘,t€ir:.tir.mttr of the SC|'-'tiil\ may extond to persons who have received orders to report tor active core er in 139 inducted w wm haw m
. ore, some p l n n l v ‘
FUF“:";egun active duty or actually reported for induction The Leet new nn ACWO gm umw is |mlpmnm bgcau$€"
all U$i y .
extend beyond lite test dates of active duty.

credits seeking to rr-_\l~,.l on rhis wet:.~‘i:re

it number cit protections et the ect=ti*i

t 1 i "-r' 1'11-_`,!`!\'[_"¢€1_['5 t.ll.D '-l` f
.i ii \ t - |c id ‘,¢"{}l ‘LC| Di`l_\Lll'B n`l:“ all rigi\l§ q t l'i'.]lllt§t?d ltJ |}t"l¢‘\`g l' \ rt
ri i 1 s r fg|§d lt‘_'} SEGK q'iJEl.h led legs ll 5
l 1053 th| C',L‘,\\l d |'B on \l"|l$ denlncaio a a \.il Q r'| l'

l'tr§t SCl"i-"i`i
are protected

- ‘,‘ 51 ‘ ii \ - .-i-i -,,_l; !1: il-;
- ll 1 l l look 'loll'l`l[¢ ES living Uf bl|'"l` it\l'\d fictiij duly "if{“\t' d | §§ $}rt,,\\,'¢(l\:r‘ y ma |H t - blm {__ w r:_l
R ' Ul. 5 CE umw 5 FFOV dod biaqu OH a 'i l l l\
WA NlNG. l _ r‘_ lieva d H d l -
orlequ llllulil alidl'llwlll Cau$a al antiuniole cartlllc:“@ lo bo pICN|dUd
BU v ` "

Certillt;ete |D: UGJOXOSCK'l BEDOO

Pttrg¢t 50

 

 

 

 

anew CaSe 1:16-cv-02134-ALC Document 86-55 Filed 08/18/17 Page 51 of 52

Ci‘vil Coutt of the
(Toonty ot` Kinge

------------
------------------------- r

flint anew wit t

R.ertaiesanee eqtity iiing F LLC,

lnc'le.‘~: No. ii@?$&?
Plainti'fl", hile No. 19(122
-agai.nat-
SUMMONS

Mr Erik Rodrigttez,

lilaee o'l`Vontte is designated
Det`entfant(s). aa 1’1aint.i1`t";~;’ Piaee oi` .1Tluaine.\;s

141 2 15 rooch yn Aventte
131‘001€1),11‘1,1\1"{ 11210

_h ...... -X
To the above named Det`endant(e):

 

YQU ARE HE.REBY SUMMONED to appear in the Civil Cottrt oi` the City ol"New Yorlt, Cottnty ol"
Ktngs at the office of the Clerlc ol"the said C.ottrt at 141 livingston Street, 13)'oolt1yn. l"~i‘r' 1 1201 in the
County of Kings, State ofNeW Yorlt‘:l within the time provided by law as noted below and to tile an
answer to the below complaint with the elerk: upon your failure to answer, judgment will he taken againat

you for the sum of $3,421.94 with interest thereon i"rotn Deeemher 1, 2013 together with costs ot`this
aetion. v

DATED: 01/29/2(115

 

f, t
1331: t'.'iz-try"l{avttiieh1 i.li_\;qi
Kavttiieh élr. As$oeiatee. P.C.
Atlorney l`ot' P|aintli`i`

181 WestehesterAve-., Suite 50th
Port Cht-St§iet'. NY 1(1573

Phone: 91~'1-355»2(17¢1 r' l"`ax.' 911-1--355`~2(173';
Defendant(e) Aclt:lress(es) »-*

lvirErik Rodriguez " §:_,: _,N 1 ,3 §n\,§
1210 towing Avenue, Apt. 2a “'” ` “`
Brool<lyn, NY 112(13-5043

City of New Yot‘k, you must appear and answer within TWEN'I`Y days after each serviee; or (tt)) 11" the
summona ia served by any means other than personal delivery to you within the C.Tity ot` New Yorlt, you
must appear and answer within THIRTY days after proof ot` service thereof is tilet'l with the C.lorit ol“ this
Court.

Pag¢ 51

 

Case 1:16-cv-O2134-ALC Document 86-55 Filed Q8/18/17 Page 52 of 52

ttttttiititeaoa
.*HHI`NWR

tennessee eotttrt.ntnr
FTR “'r normal Pts

g v intif"`t`seelts to reeov
agreement tn th

er damages from the l)efent'lant(s) l`or breach ol` a lease
372 a wm OF $2,921.94 for rental arrears for the months ol`l)eceml.‘)er, 2013 halanee of
1.94, January, 2014 through and inc
for the prentis

lading liehruary, 2014 at the agreed t'nonthl)-' sum of$ l . l lll_i.titl
yn A\tenue, /-\pt. 51", Brooltlyn, N‘f 1 1210 together with costs and
and for stteh other and further reliofas the eourt m

Sl,i`d('.`()i*~l[‘) ACTION: Plaintifi" seeks to recover d
representing damages together with costs
relief as the court tn

es known as 1412 Broold

disbursements of this action

ay deem _iusl.

atnages front ll)el`et‘tt'lant'(s_) in the sum ol`$t`l,l)(l
and disbursements of this aetion and l"or stteh other and further
ay deem jost.

THIRI) ACT§O"N : l’laintift`seelcs to rceove
representing reasonable attorneys fee
other and further relief as the court n

WI~!!LR§;FOB E: Plaintiii" dent

interest from Deeember 1, 201

r damages from the lJofendant(s") in the stan tjtl`$§t)tl.t’l(l
s together with costs and disbursements of this notion and for such
ray deem just

ends judgment (A) on the l"`irst Aetion_. in the
3 together with costs and disburseme
further relief as the court may deem just_, (B) on the Seeond notion in the sant ot`.‘t?t).t)ti pitts interest front
Decemher l, 2013 together with costs and disbursements of this action and for such other and further
relief as the Court may deetnjust, (C) on the Third Aetion, in the stan o.t`tli$Ot).th together with costs
disbursements of this action and for such other and farther relief as the thwart may deem `jttst.

sum of $2.92 .l .94 plus
nrs ofthis action for sueh other and

and

 

The Plaintifl:` in this action is NOT required to he licensed by the l\lew "t't.n'lt Cit_',' Dopartmenl ol`(_`..‘onsun'ter
Ai"fairs.

regs 52

